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From:                                         Carey Howe <carey@aretefinancialfreedom.com>
Sent:                                         Friday, November 03, 2017 11:13 AM
To:                                           ruddy@aretefinancialfreedom.com; management@aretefinancialfreedom.com
Subject:                                      RE: PAN TRUST ACCOUNT DOC
Attachments:                                  PAN TRUST document to go into Student Loan Contract.docx



Here it is cleaned up, We need to discuss


From: ruddy@aretefinancialfreedom.com [mailto:ruddy@aretefinancialfreedom.com]
Sent: Thursday, November 02, 2017 11:33 AM
To: management@aretefinancialfreedom.com
Subject: PAN TRUST ACCOUNT DOC
Importance: High

Mike,
See attachment, can we get this formatted for the Student Loan Agreements.




                              Ruddy Palacios Chief Operating Officer
                              Arete Financial Freedom
                              Toll Free: 1-888-331-5827
                              ~ : 1-949-6681068
                              Fax: 1-888-366-2219
                              1261 E.Dyer Rd.#100 •Santa Ana, CA 92705




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message containing deadlines as incoming e-mails are not screened for response deadlines. The integrity and security of this message cannot be guaranteed on
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From:                                         ruddy@aretefinancialfreedom.com
Sent:                                         Tuesday, November 21, 2017 12:18 PM
To:                                           'Support'
Cc:                                           'Management'
Subject:                                      Pan Doc
Attachments:                                  PAN TRUST document to go into Student Loan Contract.docx

Importance:                                   High



Please add this document to all of our Student loan agreements.




                              Ruddy Palacios Chief Operating Officer
                              Arete Financial Freedom
                              Toll Free: 1-888-331-5827
                              ii : 1-949-6681068
                              Fax: 1-888-366-2219
                              1261 E.Dyer Rd.#100 •Santa Ana, CA 92705




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             Payment Automation
                       ,\~p\1/j()fk,



                                                                                                                    CUSTODIAL ACCOUNT AGREEMENT



                                                                                                                                              Ver 11 /03/2017

Client enters into this Agreement (Agreement) with Payment Automation Network, Inc. (PAN) for having PAN receive payments, make disbursements
authorized by Client upon Client's instructions and/or the occurrence of specified events, and provide on line transaction management and accounting
information on Client's behalf (together, the "Services").

Client authorizes PAN to (i) collect (debit) funds via ACH from Client's designated financial institution (Designated Account) pursuant to the Payment
Schedule attached hereto ("Payment Schedule"); (ii) deposit such funds in a non-interest bearing FDIC custodial account ("Custodial Account"); and (iii)
disburse funds from the Custodial Account as directed by the payment schedule and/or by client solely upon receipt of authorized instructions from
Client, provided the balance in the Depository Account equals or exceeds the disbursement request. If the balance of the Custodian Account is less than
a requested disbursement, the disbursement direction will not be honored until the balance is increased to the desired amount.

Client agrees to pay PAN's fees and charges shown below and such fees and charges may be deducted directly from the Custodial Account.

Client agrees PAN will select the financial institution that will hold the Custodial Account. Client agrees that PAN may, at its sole discretion and upon
written notification to Client, change the financial institution that will hold the Custodial Account at any time, and that the Custodian Account may be in
California or any other state selected by PAN in its sole discretion. Client agrees that the Custodial Account will not be used for any illegal purpose, and
Client agrees to defend, indemnify and hold PAN harmless from any claims or demands related thereto whenever arising or discovered.

Client agrees that sufficient funds will be available in the Designated Account at least three (3) business days prior to date of all scheduled ACH debits.
Client understands and agrees that to stop or change a scheduled debit from the Designated Account, Client must notify PAN at least three (3) business
days prior to any such change. In the event Client's Designated Account does not have sufficient funds for a scheduled debit, PAN will not be liable to
any third party due to insufficient funds, restriction or dishonor related to Client's account. Client authorizes PAN to recover any funds arising from a
NSF, dishonor, or error in debiting the Designated Account. At its sole discretion, PAN may recover any such funds by means of a debit to the
Designated Account and/or the Custodial Account. Client agrees to defend, indemnify and hold PAN harmless from any claims or demands related
thereto whenever arising or discovered. If Client's Custodian Account is suspended, cancelled, or otherwise terminated for any reason and the account
has a negative balance, Client agrees to pay the negative balance upon demand. Should Client fail to remit the full amount of such negative balance,
Client shall remain responsible for the deficit and collection actions may be pursued against Client.

Client has an agreement with Service Provider, and the Payment Schedule is part of that agreement. Client directs and authorizes PAN to share
information with Service Provider as required by Service Provider and with any other authorized parties involved in the administration of the Custodial
Account on Client's behalf. PAN is not an owner, employee, or partner of Service Provider, and provides the Services to Client as an independent third
party. Client agrees that PAN is not involved or engaged in any respect with the services provided by the Service Provider, other than acting as a third-
party escrow on behalf of Client and the Service Provider. Client agrees that PAN shall not be responsible for determining when a payment is due or
whether a payment is for the correct amount or otherwise proper. PAN's sole obligation shall be to execute Client's payment instructions in a
commercially reasonable manner as soon as practical after receipt of such instructions or after the occurrence of the specified event authorizing release
of a payment on behalf of Client. PAN shall not be liable for any conduct by Service Provider or for penalty or other charge levied by anyone on Client,
for any failure of anyone to honor a transaction or for any other adverse action taken or not taken by any other party in connection with the Services.
Under no circumstances shall PAN be liable for any special, incidental, consequential, exemplary, or punitive damages.

PAN will provide Client an internet login with a login name and password for viewing the funds held in the Custodial Account and all transactions related
to Client via a protected website. Use of Client's passcode, password or any other form of identification designated by Client in any transaction
constitutes and will be accepted as Client's electronic signature, as that term is used in the federal Electronic Signature in Global and National
Commerce law and other applicable laws.

Client's funds are held in the Custodial Account pending Client's instructions for disbursement. Client has sole authority to authorize disbursements or
transfers. You expressly authorize PAN to rely on your instructions for this purpose whether transmitted directly by you, via the Service Provider or by a
third party you have authorized in whatever form provided, including but not limited to any instructions provided via email, PAN's website, E-signature, or
other writing, verbally, by voicemail or any other means of communication. If Client is more than one person, PAN may act upon receipt the instructions
of either person; however, if conflicting instructions are received before any action has been taken, PAN may in its sole discretion refrain from taking any
action until it receives joint instructions from all Clients or a

court order directing further action. Client agrees that PAN shall have no right or obligation to control, direct, or change any disbursement instructions
provided by Client other than as expressly provided by this Agreement.



Client may revoke any prior payment authorization at any time before such payment has been initiated by completing and submitting a Revocation of
Recurring Payment Authorization form to PAN by email or mail. See PAN's Contact Information below.

PAN or Client may terminate this Agreement upon delivery of written notice at any time. Upon termination of this Agreement for any reason, PAN shall
arrange for Client's remaining funds, apart from any funds due to be paid to the Service Provider or any other person or entity as a result of the
occurrence of specified events prior to delivery of the termination notice, to be transmitted from the Custodial Account to the Designated Account.

Client agrees that all disclosures, account activity, notifications and any other communications related to the Services may be distributed to Client by
electronic mail or through PAN's software services. Client acknowledges that Client is able to electronically receive, download and print such information
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  ;:y        Payment Automation

                                                                                                                     CUSTODIAL ACCOUNT AGREEMENT


                                                                                                                                              Ver 10/30/2014




AUTHORIZATION FOR RECURRING DIRECT PAYMENTS I (we) hereby authorize PAN to initiate ACH debit entries from the account at the depository
financial institution named below and to debit the same to such account. I (we) acknowledge that the origination of ACH transactions to the account must
comply with the provisions of U.S. law. This authorization is to remain in full force and effect until PAN has received written notification from me (or either
of us) of its termination at least three (3) days to afford PAN and DEPOSITORY a reasonable opportunity to act on it, or until the scheduled debits are
completed.
Bank Name                                  'Account Number         !Routing Number       !Account Type                        Account Fees
                                                                                                                  I authorize PAN to charge my Primary
Authorizing Person's Name (as it appears on check)                                                            Financial Institution or my Custodial Account
                                                                                                                in accordance with the following fees for
                                                                                                                            services rendered.
Address, City, State Zip (as it appears on check)                                                                     Monthly Custodial Accoun1 $6.75
                                                                                                                           Unauthorized Return $35.00
Recurring Debit Authorization              !Effective Date (Date of First Debit)                                                 Stop Paymen1 $25.00
$0.00                                                                                                                          Return Item Fee $0.00
The specific debits to my account authorized herein may only post on or after the EFFECTIVE DATE              Fees for Disbursements per occurrence
listed in the attached payment schedule. This authorization is to remain in full force and effect until PAN   or any other appropriate service.
has received written notification from me of termination in such time and in such manner as to afford                             ACH Credi1 $5.00
PAN a reasonable opportunity to act.                                                                               ACH Debit/Check by Phone $5.00
                                                                                                                 Overnight Check,Wire Transfer $25.00
                                                                                                                                 2-Day Check $10.00
                                                                                                                                 USPS Check $5.00
Client                                                     Date                                               Notifications To Payment Automation
Signature                                                                                                     Network
                                                                                                              Email: clients@paymentautomation.net
Co-Client                                                                                                     Phone: (800) 813-3740
                                                           Date
Signature                                                                                                     Fax: (888) 600-2703
                                                                                                              Portal: https://client.paymentautomation.net
                                                                     Payment Schedule

Payment#                                                Process Date                                                            Amount




                                                                                                                                         EXHIBIT 16
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             Payment Automation
                          Network, Inc.
221 N Central Ave, # 196, Medford. OR 97501                                                    Srude111 lo(/n
Toll Free: 800-813-3740                                                                    Payment S~n·icm;:


                                       Information we need to get started

          The following is a list of things we need to start processing your accounts:

          ~ Copy of business license.
          ~ Articles of incorporation, certificate of organization or partnership agreement.
          0 Names and contact information of all owners/officers
 ~/"" 0 Fictitious Business Name form or OBA-Business Name form if applicable
          E. Sample         of marketing materials used for recruiting new clients.
          !)('Sample templates of the contacts your clients sign with you.
          ~Contact information you give to your clients/customers:

                    Business Name              A12€-~E    FtN l><t'JCIA<-

                    Mailing Address             'Z~S I   E. DY Ee. eoA0


                    Phone                     ~===------ Fax         _ _ _ _ __

                    Email

                    Website

          ~ Payment Servicing Agreement filled out and signed
          0 IRS W-9 form filled out and signed (for each owner of the portfolio)
          ~    Client bank authorization agreement (we use this to disburse your funds).
                         and a copy of a voided check.
          ~    ACH Risk Profile Questionnaire .
          0 Check, Money Order, for the security deposit mailed to :
                  Payment Automation Network
                  221 N. Central Ave, #196
                  Medford OR 97501




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             Payment Automation
                           Network, Inc.
2:?1 N Central Ave. #196. Medford. OR 97501                                                         Studem U><m
Toll Free. 800-81 J-3740                                                                          Paymcm S~1~·1cmg




         Arete Financial Freedom
         Carey Howe
         sent via email:
         carey@aretefinancialrreedom.com
         Phone:          -2231




August 8, 2017

Dear Carey,

Thank you for the opportunity to submit our student loan payment servicing proposal for your consideration.

Payment Automation Network, Inc. specializes in helping Student Loan Consolidation Companies by quickly and
securely collecting and disbursing funds.

Chances are you did not realize collecting payments would be so time-consuming and that you would be
responsible for every detail such as keeping accurate balances, depositing funds, and collecting past due
payments, doing trust account escrow payouts to the student loan companies, and keeping the proper
records mandated by the IRS, FTC, CFPB and the Department of Education.

Getting started with our services is quick and easy. We can get you started processing payments in a few short
days.

Payment Automation Network, Inc. will eliminate the frustration of payment collections, and disbursements on
your existing and new student loan consolidation accounts. Our comprehensive payment servicing is specialized
for student loan consolidation companies by collecting and disbursing funds daily.

We are looking forward to a long-term relationship with you and your staff, and we are ded icated to your
success. I will be contacting you soon to answer any questions you might have regarding the enclosed proposal.


~,,#/'~
Ken Martinez
Payment Automation Network, Inc.
(800) 813-3740 x 1 Toll Free
(888) 600-2703 Fax
info@PaymentAutomation.net

Visit us on the web www.PaymentAutomation .net




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             Payment Automation
                          Nei:work, Inc.
:rn  N Central A~e. #196. Medford. OR 97501                                         Srudem lotm
Toll Free 800-813-3740                                                            Papncm S.!rl'lcmg




                     Student Loan Payment Servicing Proposal
                                                             To:

                                                    Arete Financial Freedom
                                                          Carey Bowe


                                                        Submitted by:
                                              Payment Automation Network Inc.
                                                   221 N. Central Ave, #196
                                                      Medford OR 97501
                                                    800-813-3740 Toll Free
                                                       888-600-2703 Fax
                                                info@PaymentAutomation.net
                                                www.PavmentAutomation.net




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                    Student Loan Consolidation Company Payment Servicing

Background

                     Chances are you did not realize collecting payments would be so time-consuming and that you
                     would be responsible for every detail such as keeping accurate balances, depositing funds,
                     collecting past due payments, doing trust account escrow payouts to the student loan
                     companies, and keeping the proper records mandated by the IRS, FTC, CFPB and Department of
Education.

The Solution
Payment Automation Network, Inc. will eliminate the frustration of payment collections, disbursements and
tracking on your existing and future accounts.
With our comprehensive service, we do the following work for you:



                                       Payment Automation Network, Inc. helps
                                      Student Loan Consolidation Companies by
                                     quickly and securely collecting and disbursing
                                                                                                       !'ou r<>ce11·e )'tJUr funds
                                                        funds.

   •     We setup borrowers with Automatic ACH payments (no             •   We verify bank account information before processing,
         additional charge).                                                saving you thousands in return payment fees.
   •     We can handle Escrow collections, tracking and payments        •   We provide you with comprehensive/professional
         for payouts to the student loan companies.                         reporting
   •     We can hold funds in Escrow until the consolidation is done,   •   You have access to your account online 24/7.
         keep you compliant.                                            •   Funds disbursed to you daily.



Student Loan Payment Servicing Compliance

Student Loan Consolidation is considered a performance based industry, meaning that to be compliant, fees cannot
be charged to a customer until services are rendered. Yet it is clear that operating in this manner opens a student
loan company up to heavy losses due to committing services prior to payment. We however at Payment
Automation Network have derived a solution:

Payment Automation Network will assist with your compliance by drafting and holding your Customers funds in
our escrow/trust account, securing your revenue until your consolidation services are rendered. At this time PAN
will release your service fees to you and thus keeping you in compliance with the CFPB and Department of
Education.

          We offer the most comprehensive and cost effective student loan payment servicing in the industry.

Complete Accounting Services

    1.   Funds are disbursed to you daily.
   2.    You have a daily detailed statement of funds collected, amount disbursed to your company, servicing fees
         and escrow deposits.

Complete Owner/Portfolio Services




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   •    24/7 access to Payment disbursement statements, payment histories, delinquent reports and projected cash
        flow reports.

Toll-free Customer Support.
Friendly client services representatives are available 9AM - 4PM Monday thru Friday PST to respond
to changes in loan payments or help resolve payment difficulties.

24/7 Online Account Access
                 With our Secure Web Portal you have 24/7 Online Access to your Account.

                 Can you monitor the servicing of your current payment processing company? Easily check your
lccoum           payment collections? Run delinquent payment reports? Check your client statement of
       Access    collections and disbursements a click of a button?

We all know that the Internet has changed our world. Through our secure web portal you will have 24/7 tracking
and monitoring of your loan servicing account 24/7 anywhere you have an Internet connection. With Student
Loan Payment Servicing from Payment Automation Network, you remain in control of your account with the
abil ity to monitor your account status.

Payment Automation Network Payment Servicing Web Portal Gives You

   •    Secure direct online access through an Internet connection. Monitor your account 24/7.
   •    Access to loan information, portfolio status, collections reports, delinquent reports and more.

Action Plan
Converting to Payment Automation Network, Inc. payment servicing is EASY. We do the work to make the
process as smooth as possible for student loan consolidation companies.

   What you can expect:

   1. Complete the "Payment Servicing Agreement" and necessary paperwork.
   2. Once the Payment Servicing Agreement is executed, we are ready to begin the process to convert the
      account servicing for your customers. We will work with you to gather the necessary information for each
      account.

Fees

          Payment Automation Network, Inc. is proud to offer the most comprehensive Student Loan
          Consolidation Company Payment Servicing in the industry at very low cost to you. We charge a low per
          payment fee. We only get paid if you get paid.

Conclusion
We are certain that the systematic and thorough approach outlined in this proposal will not only improve your cash
flow and increase your profitability, we will help free up your time by doing all the Student Loan Payment
Servicing work and getting you your funds on time. Payment Automation Network, Inc. is committed to serving
you.




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             Payment Automation
                    Ne" ork, nc.
22 1 N Central Ave. #196. Medforu. OR 9750 1                                                                     Studem loan
Toll Free. 800-813-3740                                                                                        Payment S~n·1cmg


                           ACH/eCheck Merchant Services & Underwriting

We at Payment Automation Network, Inc. look forward to getting your ACH / eCheck merchant
account up and processing payments in only days! This includes an assessment questionnaire
document approval and underwriting process .
We will be ask ing for documentation from you and/ or the contract signer as well as conducting
research from external sources.
Merchant account approval is based on a combination of factor s assessing overall compl ian ce, and
principled business practices. Declines are rare , but occasiona ll y additional follow up may be
required by underwriting to get your account approved.
Payment Automation Network, lnc. provides continuous ACH merchant services to our clients to
assist them in maintaining compliance and best practices ; your integrity and reputation ensures
efficient, compliant and uninterrupted payment processing. We look forward to working with you
to join the many clients Payment Automation Network, In c. is proud to serve and represent!

Tips to pass underwriting:

               •     Underwriting will verify you have a valid website and that your email addresses use the website domain
                     and not an email like "Gmail" or "Hotmail".
               •     Your business name on your business license, articles of incorporation, bank account and website must
                     match. If not, we will need your DBA form or fictitious business statement form.
               •     Your website and service agreements must state you are not a government agency.
               •     Your marketing materials and website testimonials must be real and proof documented if requested.
                     (underwriting will verify there are no deceptive marketing practices) .
               •     You must clearly state your fees and refund policy in your service agreement.
               •     You shou ld not be charging upfront fees until after the consolidation is completed, but funds can be held
                     in our Escrow/Trust Account and released to you on completion. (We help keep you compliant).


Customers must be made aware of various monetary and program details.

According to the FfC and CreditinfoCenter.com, providers must make several disclosures when marketing their
services to customers before they sign up for any debt-relief services. The providers must disclose:

     •    How much it will cost and any refund policies
     •    How much money customers will need to save up in order to settle (if applicable).
     •    Any effect on credit, potential of lawsuit or possible tax consequences.
     •    Key information about dedicated accounts.
     •    Whether the provider is a for-profit or nonprofit entity.
     •    How long it will take for consumers to see results.
     •    Accurate estimates of how much money a consumer will save.

In determining potential customer savings, firms must accurately estimate the success rates of their clients, and
claims about how much money consumers can save must be based on the firm's actual experience with all clients.




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            Payment Automation
                        Network, Inc.
221 N Central Ave. #196 Medford. OR 97501                                                                S1ude111 loan
Toll Frl!e: 800-813-3740                                                                               Payml'nt .wn·icmg


                          ACH/eCheck Merchant Services & Underwriting

Managing Risk
ACH and Credit Card risk analytics show that ACH/eCheck transactions sometimes incur "charge backs" or disputes
from customers. Customers may claim that the charge was false, unauthorized or that their account information was
misappropriated.

When it comes to these kinds of disputes, you have little choice but to absorb the loss. The key to reducing charge
backs lies in preventing them before they occur.

•    You are required to have your customers sign an ACH Preauthorized Checking form and you are required to
     provide that form on demand to Payment Automation Network, Our ACH processor or Bank when requested.

     The ACH form is provided at the bottom of this email package document.

•    Per ACH Laws, the rate of "unauthorized" returns cannot exceed .5% (1 /2 percent) of your total payments. The
     biggest reason customers dispute payments with their bank as "unauthorized" is they were not expecting that
     payment on the date processed, the amount processed or they did not recognize who the payment was for. It is
     usually a lack of communication between you and your customers. Be sure to communicate several payment
     reminders with your customer prior to having us process the payment.

•    To help protect your ACH account, Payment Automation Network, Inc. will not run any further payments for any
     customers that file an unauthorized return.

Like any electronic payment, ACH involves a modicum of security risk. But by taking a few proactive risk management
measures, you'll be able to enjoy all the benefits of ACH payment processing without having to sing the charge-back
blues.




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                                                                      Company Name:
                                                                      Tax ID Number:
                                                                      DATE:    @ •( • (     r


                    Risk Profile Questionnaire - Debt Relief Service Providers
This Risk Profile Questionnaire will enable better implementation of procedures to deal with the risk associated with the Debt Relief
Service Provider (DRSP) Industry. This is in response to the growing scrutiny by Government Agencies of Third Party Payment
Processors (TPPP) and the Banks that underwrite these TPPPs. This policy will serve to strengthen the commitment to adhere to the
highest standards of industry compliance and to minimize liability for service providers and clients in this retail financial space.

1.    Please specify ALL principal(s) and Controlling person(s) of the entity who own 10% or more as the point of contact
     for queries and other issues regarding your services:

Name:                                        Percent owned:
       ---==-~~__c,__,,==;;.__---------
Address:       e . P!/f'k           rz:a
                             SAN 1A: ArtJI) CA q~S--
Phone:                          Fax: q+&J 'ZZO ot-:to




           a)   Have any of the above individuals ever been the subject of an investigation or subject of any legal action
                by any state or federal law enforcement agencies? If yes, please explain



           b) Have any of the above individuals ever filed for bankruptcy?                                         Yes    I@
2.   Please provide the main street addresses where business is conducted and administered including support
     organizations locations where Telemarketing Services are performed or data processing equipment is located:

         Main Location of Services:
Name:           Af.et"E     Col2..Pocz:AT€                          Title:
Address: ~~RO                                      'EAN7A      AtJA Cf\
Phone: ~~(                                       Fax:    'f1'f zic> "~

       Telemarketing Services:
Na me:              sPrM.ft-.                                       Title:
Address:
Phone:                                                                                     Email:

          Print Mailing/Data Processing:
Name: -----~=--'-"'JZ"------------ Title:
Address :
Phone:                       Fax:                                                          Email :




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3.   Please provide a detailed description of the nature of your business any trade names, fictitious names, DBAs,
     including all services for which the entity seeks Payment Processing, Escrow, or Account Maintenance:
     grvoi:::tJ-r U?AN CoNSoc.a Oll.vorJ




4. Please list all internet websites under or through which the entity has marketed or intends to market the services :
        WN ~      F;;tNldNCJ Ai., uet-Pl?fZ.t;. C.01'1



5.   Please provide contact information of every Bank/Financial Institution and Payment Processor used by the entity
     during the previous one year:

       Bank/Financial Institution:
Name:         60fl-A-                                         Title:
Address:    5t>t'l-
Phone:

       Payment Processor:
Name:      WOete>PAif                                         Title:     HtJC<fl-   I
                                                                                    I
                                                                                          WAIN SWAPP
Address:
Phone:                                                                                  Email:   W5WAPPe CM..SCAfZO.
                                                                                                                       c....c,,
       Legal Counsel :
Name:     \NtU,..fp,.j:!J MIT~                                Firm:
Address:
Phone:                                       Fax:                                       Email:       Wet-'\C31ZLA\\J. Co'1



                                                                                                                l~I
6. Does your company make payments or hold funds on behalf of the Consumer?                              Yes
7.   Does your company charge a monthly service or ma intenance fee?                                     Yes

8. Please provide contact information of any Bank/ Financia l Institution references:

Name:                                                         Title:
Address:
Phone:                                       Fax:                                       Email:




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 9.   Please provide contact information of any business or trade references:

 Name:            ¢..<?Art   ~   tTYAy                            Title:
 Address:
 Phone:                                                                                     Email:

  10. Please attach 1) a current consumer contract template, 2) all representative market materials currently being used
      for Debt Relief Services, 3) and a sample telemarketing script if applicable:
                  A"TT~



  11. Please provide a summary description of the Entities Complaint intake and Management System, including contact
      telephone numbers, website/email addresses.
      Cor\?CA•NT? CAUfiQ tN AIU IMfi¥:tQtM cv                  71ZA,.JSt=-~-D            7"o     IV/§-rP.AUr112tJ 7:FifAr1,
                                            '



  12. Please explain the proportion of any service fee, document preparation fee, monthly monitoring, or re-occurring fee
      in regard to total fees paid by consumer:
1 TtMt - 5'f#lf    APP~CIJr"fl()N    ff..£,
Moo1a1·31           Po!l:fAL ff.£.


  13. Please describe the process through which payments are made to the loan company on behalf of the students;
      including when fees are taken; where funds are held until 1 st loan payment is made; who is disbursing loan
      payments; any applicable flow of funds diagram.
             ~o       f=1JNOS     LlaD) .... f¥.- ~NOT A                   Pt'ZP- fl.etrl'£/C_


  14. Are the Best Practices outlined in the following utilized by your company?

            a)    Does your business make representations that create a false net impression of
                  affiliation with the Department of Education?
            b)    Does your business disclose the total cost of the student loan debt relief se rvices?
            c)    Does your business collect up-front fees for services yet to be provided?
            d)    Does your business clearly define its cancellation or refund policy?
            e)    Does your business have a factual basis for advertising explicit statements to
                  consumers about their possible savings when entering your program?
            f)    Does your business protect the confidential information of the consumer on a secure
                  server up to industry standards for data security practices?
            g)    Does your business represent legal action will be taken for non-payment of debts?              Yes
                                                                                                             '---~~~"--""'::::--=-,__,




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                                   PAYMENT SERVICING AGREEMENT

       This Payment Servicing Agreement ("Agreement") is made by and between Payment Automation Network, Inc., an
Oregon corporation ("PANI") and/or assigns, and:



located at    IU I     E.   DY'f?       SD       SosNTA        ANA-       CA ZfStf 9 2:/<?S° ("Consolidation
Servicer").

RECITALS:

A. PANI is a payment processing company doing business in Jackson County, Oregon.
8 . Consolidation Servicer has agreed to provide a student loan consolidation service to its clients ("Borrower").
C. Consolidation Servicer agrees to authorize PANI to process payments, and Consolidation Servicer agrees to retain the
services of PANI in connection with the collecting and disbursing payments from an account, or accounts ("Account• or
"Accounts" as the context requires), upon the terms and conditions hereinafter set forth .

AGREEMENT:

       NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged , the parties agree as follows :

1. Services of PANI. Subject to and in accordance with the terms and conditions set forth in this Agreement, Consolidation
Servicer instructs and authorizes PANI to perform the following services in connection with payments from Accounts (if the
Consolidation Servicer so chooses these services):
        (a) Keep appropriate accounting records on Accounts and the sums collected thereon , which records will reflect the
        amounts collected less Con.solidation Servicer fees and any applicable late charges, escrow charges, return payment
        charges and/or other deductions. Such records shall be available for review by the Consolidation Servicer during
        regular business hours at PAN l's corporate office or, at PANl's option, PANI may provide copies thereof to
        Consolidation Servicer. PANI shall be entitled to reimbursement of reasonable copy/print charges.
        (b) Collect all payments due on Accounts pursuant to the terms thereof and transmit funds, less PANI fees, late
        charges, escrow, return item bank fees and/or other charges, until each Account is paid in full or services are
        completed or terminated by the Consolidation Servicer.
         (c) Provide Consolidation Servicer with annual statements (or less frequent intervals at PAN l's option) pertaining to
         payment processing.
         (d) Without limiting the generality of the terms of any term of this agreement, Consolidation Servicer hereby
        authorizes and empowers PANI, on Consolidation Servicer's behalf, to execute and documents with respect to any
        Accounts that are customary and consistent with payment processing servicing practices pertaining to such Accounts
        and/or other documents reasonably relating to the performance of PANl's services hereunder.

2. Compensation to PANI. Consolidation Servicer authorizes PANI to retain daily, as compensation for services performed
hereunder, a fee as indicated in the attached Payment Servicing Fee Schedule . PANI shall have the right to modify its fees
by provided Consolidation Servicer with 30 days prior written notice of such modification . PANI does requ ire a Security
Deposit to open a trust account for the Consolidation Servicer. The Security Deposit will be returned to the Consolidation
Servicer by check, sent by US Mail, 45 (forty five) days after the termination of services with PANI. During the 45 day
waiting period, any return item chargebacks received by PANI will be deducted from the Security Deposit. The amount of the
Security Deposit is indicated on the attached Payment Servicing Fee Schedule. As the number of accounts PAN I will be
servicing continues to grow, the Security Deposit amount may be required to increase at PAN l's discretion with 30 days
written notice.

3. Right to Delegate. Notwithstanding anything contained herein, PANI may, in its sole discretion, delegate any obligation
hereunder to credit bureaus, student loan servicing companies, agents, attorneys, trustees, or others.

4. Legal Advice. Consolidation Servicer is encouraged to seek independent counsel in connection with any questions
Consolidation Servicer may have concerning this Agreement and documents relating to or executed in connection herewith.

5. Term and Termination . This Agreement shall remain in effect until Consolidation Servicer's interest in all Accounts have
been satisfied (unless sooner terminated in accordance with the terms hereof). In the event of any material breach of this
Agreement by PANI ,

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Consolidation Servicer may, following 60 days prior written notice to PANI , terminate this Agreement. PANI shall have the
right to terminate this agreement following 30 days prior written notice to Consolidation Servicer at its sole discretion .

Once services are terminated, it is possible there will be return item charge backs on payments that have been collected and
disbursed to the Consolidation Servicer, that will be reversed out on PANl's bank account, or PAN l's ACH Processor's bank
account. The Consolidation Servicer's Account Holders may have up to 6 months to have their bank reverse/dispute
payments that have been previously paid. In the event that there are return item charge backs, the Consolidation Servicer is
responsible for reimbursement of funds to PANI. The Consolidation Services authorizes PANI to recover return item charge
backs by ACH debits to the Consolidation Services bank account. PANI will send an email notification to the Consolidation
Servicer to give two business days notice before recovering funds via (ACH) Automated Clearing House debit. In the event
PANI is not able to recover funds by ACH debit, PANI reverses the right to pursue collection by all legal means available,
including interest, penalties and damages.

6. Consolidation Servicer's Registration. Consolidation Servicer(s) name as listed in this Agreement is the exact form for
registration of Consolidation Servicer's interest and for reference to Consolidation Servicer in the Account Documents.

7. Integration Clause. This Agreement contains the entire agreement between the parties hereto and cannot be modified
except by a written amendment signed by both parties. The invalidity of any portion of this Agreement shall in no way affect
the balance thereof. The only exception is to the PANI fee schedule, which can be changed at PANl's discretion with 30 days
written notice.

8. Authorization. Consolidation Servicer shall execute documents reasonably necessary to enable PANI to perform its
obligations hereunder.

9. Release and Indemnification. Consolidation Servicer acknowledges that PANI is entering this Agreement based upon the
benefits to accrue to Consolidation Servicer by virtue of PANI providing payment processing services hereunder, and that it is
a benefit to Consolidation Servicer for PANI to enter this Agreement. As consideration for this Agreement, Consolidation
Servicer hereby expressly agrees to release, defend, and hold PANI harmless for and from any and all claims, liabilities,
damages or losses of any nature, including attorney fees and costs of defense, that relate in any way to PAN l's performance
of obligations or acts hereunder or otherwise relating to the Accounts which relate to this Agreement. Such claims, liabilities,
damages, or losses shall expressly include, but not be limited to, any claims from clients to the Accounts or government
bodies relating in any way to debt collection practices or laws/regulations relating thereto or any other claims, liabilities ,
damages, or losses relating in any way to the Accounts. Additionally, the Consolidation Servicer agrees to supply PANI a
copy of their ACH agreement signed by their customer upon request. Consolidation Servicer understands and agrees
that PANI is not performing debt collection activities on behalf of Consolidation Servicer and that PANl's service
hereunder are strictly relating to payment processing.

10. Non Circumvention.
10.1 For a duration of 3 years after the cancellation of this agreement, it is expressly agreed that the identities of any
individual or entity and any other third parties (including, without limitation, employees, ACH Processors, suppliers,
customers, software vendors, financial sources, manufacturers and consultants) discussed and made available by the
Disclosing Party in respect of the Purpose and any related business opportunity shall constitute Confidential Information and
the Consolidation Servicer or any Group company or associated entity or individual shall not (without the prior written consent
of, or having entered into a commission agreement with PANI): directly or indirectly initiate, solicit, negotiate, contract or
enter into any business transactions, agreements or undertakings with any such third party identified or introduced by the
PANI ; or seek to by-pass, compete, avoid or circumvent PANI from any business opportunity that relates to the Purpose by
utilizing any Confidential Information or by otherwise exploiting or deriving any benefit from the Confidential Information.

10.2 The Consolidation Servicer covenants that any financial gain made by it, or any associated party, from a breach of
clause 10 .1 shall be held on trust for the benefit of PAN I and then be transferred to a nominated account of PAN I, until which
time such outstanding amount shall incur interest at the rate of 4% per annum above Barclays Bank's base rate from time to
time. Such interest shall accrue on a daily basis from the due date until actual payment of the overdue amount, whether
before or after judgment and the Recipient shall pay the interest together with the overdue amount.

10.3 Clause 10.2 does not affect the PAN l's ability to also sue for damages should the covenants in clause 10.1 be violated
in any way.

11 . Notices. All notices, demands and other communications required or permitted hereunder shall be in writing and shall be
deemed to have been given
         (i) when personally delivered, or
         (ii) on receipt, when deposited with a recognized overnight courier service such as United Postal Service, Federal
         Express or OHL, or

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        (iii) three (3) business days after the date when deposited in the United States mail and sent postage prepaid by
        registered or certified mail, return receipt requested, addressed as follows :

                 To Consolidation Servicer:                To the servicing company:
                 Payment Automation Network, Inc.          At the address set forth above.
                 221 N Central Ave., #196
                 Medford, OR 97501

                 or at such other address as the party to be served with notice may have furn ished in writing to the party
                 seeking or desiring to serve notice as a place for the service of notice.

12. Governing LawNenue. This Agreement shall be construed in accordance with the laws of the State of Oregon, without
regard to the conflict of laws or rules thereof, and the obligations, rights and remed ies of the parties hereunder shall be
determined in accordance with such laws. Venue for any dispute shall lie exclusively in the Jackson County Circuit Court.

13. Attorney Fees. In the event any party hereto brings an action to concern ing the subject matter of this Agreement or
otherwise to enforce any of the provisions of this Agreement, the prevailing party shall be entitled to costs, expenses and
attorneys' fees, including such costs, expenses and fees as may be incurred on appeal.

14. Successors and Assigns. This Agreement shall be binding upon and shall inure to the benefit of the parties' respective
successors and assigns.

15. Escrow Services. Consolidation Servicer may separately contract with PAN! to perform Escrow services for the
accumulation and payments for payouts to the student loan companies for the Account holder's behalf. It is PAN l's intent to
collect and hold such proceeds in a trust account and disburse the scheduled payments to the respective authority as
scheduled when PAN! receives notification for a payment request. It is the Consolidation Servicer's responsibility to make
sure PAN! receives payment notification requests. PANI is not responsible for non-payment, which may result in late
fees, penalties, negative credit reporting or lapses in coverage.

16. Headings. Section headings used in this Agreement are for convenience only shall not affect the meaning or
interpretation of this Agreement.

17. Authority. Each party represents and warrants to the other party that it is duly authorized to execute, deliver and perform
this Agreement. Consolidation Servicer acknowledges that this Agreement shall not be binding until accepted and signed by
PAN!.

18. Disbursement Instructions. Reports and Payments processed by PAN! are disbursed to the Consolidation Servicer within
a reasonable time after processing or after funds clear. Disbursement following payment of PAN! fees shall be made as
provided by Consolidation Servicer in the Client Bank Authorization Agreement. Separate reporting and disbursements can
be mailed to each Consolidation Servicer of the portfolio of Accounts according the percentage of ownership in the portfolio
as indicated below.

Please specify ALL principal(s) and Controlling person(s) for the Consolidation Servicer that have any percentage of
controlling interest. Use a separate page if needed:

Consolidation Servicer - Owner 1
Name
Address                                       Zb:fr
Phone                     Fax _ _ _ _ _ _~
Email
Percentage of Portfolio Ownership ___:Z_S"----

Consolidation Servicer - Owner 3                                   Consolidation Servicer - Owner 4
Name                                                               Name       $LICJNMIAJ bf.SO
                                                                   Address _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Address
Phone                                                              Phone                     Fax _ _ _ _ _ __
Email                                                              Email
Percentage of Portfolio Ownership _ _2..,-==>S--..___ __           Percentage of Portfolio Ownership _ _'2..:___,S*"
                                                                                                                ______



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Consolidation Servicer - Owner 5                                         Consolidation Servicer - Owner 6
Name                                                                     Name
Address_~~~~~~~~~~~~~­                                                   Address_~~~~~~~~~~~~~­
Phone         Fax_~~~~~­                                                 Phone       Fax_~~---­
Email                                                                    Email
Percentage of Portfolio Ownership - - - - - - -                          Percentage of Portfolio Ownership - - - - - - -

19. Location(s) : Please provide Street Addresses, phone numbers, emails addresses and websites where business is
conducted and administered including support organizations and locations, including where Telemarketing Services are
performed and/or data processing services are performed and equipment is located.

This location is used for:    M      OP££P..((otJS                       This location is used for: - - - - - - - - - -

                                                                                                 NA-
Name                                                                     Name
Address l'Z'1 I E. pyat: gt) ~AN'TA NJA cp. &f 2:/<:f;                   Address------------
Phone - - - - - - F a x                                                  Phone _______ Fax_~-~~~~
Email     MDrfJAGE M &>i-e,p.!ZJ?!e:F1NAflXJALRl66bt'I                   Email
                                              • <::.cfi
This location is used for:                                               This location is used for: - - - -- - - - - -

                                                                                              NA-
Name                                                                     Name
Address _ _ _ _ _ _ _ _ _ _ _ __ _ __                                    Address _ _ _ _ _ __ _ _ _ _ _ _ _ __
Phone     _______             Fax_~~~~~~                                 Phone _ __ _ __ _ Fax_~~--~-
Email                                                                    Email

20 . Counterparts. This Agreement may be executed in one or more counterparts, each of which shall be deemed to be an
original, and all of which together shall constitute one and the same instrument. Facsimile/electronic signatures shall be
deemed binding as originals.

21 . Ongoing Monitoring. By signing this agreement, I hereby authorize PANI, and/or any vendor of PANl's choice, to obtain financial,
credit and background information relating to the company and owners listed above for the purpose of verifying the financial and corporate
standing. If you enter into the Services Agreement, PANI will be entitled to perform periodic financial, credit and background reviews during
the term of such agreement. Completed applications do not guarantee a commitment of services by PANI. All applications must be
approved and meet qualifications and compliance with all PANI underwriting requirements, all PANl's vendor and Government agencies
requirements.

22. Further Documents. Consolidation Servicer agrees to provide a completed and signed IRS W-9 form for every
Consolidation Servicer to be included in disbursements associated with the Accounts, in addition to a separate Client Bank
Authorization Agreement, completed and signed, for each Consolidation Servicer that needs to be included in the
disbursements. Consolidation Servicer agrees to facilitate as necessary obtaining Accounts' completion of a Pre-Authorized
Checking Application form in a form provided by PANI.

23 . Disclaimer: Payment Automation Network, Inc. is a private company, and is not affiliated with the Department of
Education or any other academic or governmental entity. The Payment Automation Network, Inc. service bridges the gap
between student loan consolidation company CRM (Customer Relation Management) Software and ACH (Automated
Clearing House) processors. Payment Automation Network, Inc. is not a money transmitter or debt collection agency and
does not receive money from individual debtors. Payment Automation Network, Inc. is not engaged in the business of debt or
credit counseling or the provision of other services to individual debtors. Payment Automation Network, Inc. does not solicit,
offer loan consolidation services, or provide services directly to individual debtors. Payment Automation Network, Inc. does
not have a contractual relationship with individual debtors to affect the adjustment, compromise, or discharge of any loan
account.




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This Agreement is hereby made and executed by and between the parties this _ _ _ day of _ _ _ _ _, 20_.




                                                 Signed


                                                 Print


Title    p~ ID&-l\.                              Title
Company and Address                              Address:
   Aez.e;r~   E1rr'ANCJ Mr=                      Payment Automation Network, Inc.
                                                 221 N Central Ave
                                                 #196
                                                 Medford OR 97501
Phone:                                           Phone: 800-813-3740
Fax:                                             Fax:       888-600-2703
Email:   Ci>sfK>(   r£ ~EIN1>1>¥At;L ~~ Email: info@paymentautomation.net
Website: ~"FtN/:Jr1V(,tA<.             • C0"1    Website: www.PaymentAutomation.net
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                                         PAYMENT SERVING FEE SCHEDLUE
                                                 PAYMENT AUTOMATION NETWORK, INC.

No Setup Fees
$795.00 Security Deposit (returned to you 45 days after termination of services).
$15.00 per successful Equitable Finance bank draft
$ 6.75 per successful bank draft (non-Equitable, cash deals)
$12.00 return item chargeback fee per returned payment
** $25.00 return item chargeback fee for "unauthorized" returns filed by your customers at their bank.

Pricing is based on the fo llowing conditions:

Your customers are required to have a val id email and all statements are sent by email only. Any SF/Return Item payment rescheduling
and follow up is done by your company. Return item chargebacks have a Return Item Chargebuck fee. ACH/ eCheck chargebacks are
charged to you by deducting the fee from your disbursement. Failure to pay the return item chargeback fees in a timely manner may
require Payment Automation etwork. Inc. to withhold disbursements. or debiting )OUT operating account to recover the return item fees
due.

When you reschedule a return payment, be sure to add a SF fee to the total payment to your customer. It is common practice to add a
$25.00 fee charged to your customer. If the $25.00 fee is recovered, your company will keep the entire fee. This will help offset the cost
of your return pa) ment fees.

••If your customer disputes a payment al their bank as ·'unauthorized'', return item chargeback codes R06, R07, R08, RIO. R29 and R5 l,
the return item chargeback amount fee is currently $25.00. We will no longer run any further pa) ments for a customer that has filed for an
unauthorized payment refund at their bank. Per ACH laws, ••unauthorized" return items cannot exceed .5% (1/2 percent) of total
payments. If your unauthorized returns exceed the legal limit, your ACI I account may be immediately termi nated. Please do everything
possible to avoid unauthorized returns, including refunding payments if necessary.

INCLUDED WITH OUR SERVICING FEES

     •     Your clients are setup with automatic ACH/eCheck or bank draft payments
     •     We verify bank account information before processing, saving you return payment fees.
     •     We offer full Trust/Escrow processing to help keep you complaint. We can hold funds in escrow
           until your consolidation is completed and you tell us to release funds.
     •     Payments are processed daily and disbursed daily. (on business days. Disbursement wire fees
           may apply)
     •     Keep an accurate record of every payment made and every disbursement.
     •     Toll free customer service for your clients.
     •     Account and payment schedule adjustments included (no additional charge).
     •     Access to our secure client web portal. You can monitor your payment servicing account 24n.

EXPLANATION OF ESCROW I TRUST SETUP AND SERVICING

When we collect a payment, you can determine how much of that payment can be held in your escrow account per customer. When the
borrower's payment includes amounts for the eventual escrow payouts, we can payout escrow to the respective authority at your request
or as scheduled. There is no additional charge for this escrow service if we process the payment collections.


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•Note: Fees are subject to change with 30 days written notice by Payment Automation Networ1<, lnc.'s discretion. This page is part of the Payment Servicing Agreement.




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Form     W-9
Substitute Form                               Request for Taxpayer
State or Colorado 8-2007
                                                                                                                                                                                                                                   Give form to the
                                                                           Identification Number and Certification                                                                                                                requester. Do not
                                                                                                                                                                                                                                   send to the IRS.
                Name
         ...;
          Q>
          '°    Business name, if different from above
          c:
     G> ~i--:::
             C~h-
                ec7
                  k-a-pp_r_op
                            _n_a-
                                ~~bo-x:------------------------------------------I
     a. c:
     ~ 11-cD....,..,._rn_di~·v_icball---:-So-l_e_P_ro_p_n.,...·e_to_r_D---.,.eo_rp_o.,...r_a_ti_on_aJ_P_an_n_e_rsh_iP_D
                                                                                                                    __  Ot_h_e_r--=:.~.. ·:.:·. ..:..:··..:..:··..:..:··..:..:··..:..:··,;..:··..:..:··..:..:··..:..:·__ D_E_x_·e_m_p_t_fr_o_m_1ia_c1rup
                                                                                                                                                                                                                                                   __\\1_·ih_h_o_1di_·n_g_ _ _--1
     c: c:                                                                                                  Requester:
     it ~                                                                                                    Payment Automation Network, Inc.
                                                                     . =-L.:!!==---~1o<...-----------------l 1625 E 72nd Street, Ste 700- 142
          l'il--C-ity-.-s-=ta:::..te..::,'-an..::d_:Zc...IP__:.cod__::.e_
                                  f,PrfJTA ANl'-r CA                                                           o5
                                                                                                             TacomaWA98404
                List Account number(s) here (optional)                                                                                                                           Phone Number:


                      Taxpayer Identification Number (TIN)

                                                                                                                                                                                                                  Social Security number
Enter your TIN in the appropriate box. For individuals, this is your social security number (SSN) However,
for a resident alien, sole proprietor, or disregarded entity, see the Part I instructions on page 3. For
other entities, it is your employer Identification number (EIN). If you do not have a number, see How to get
a TIN on page 3.

Note: If the account is in more than one name, see the chart on page 3 for guidelines on whose
number to enter.



                      Certificatio n

Under penalties of perjury, I certify that:

1. The number shown on this form is my correct taxpayer identification number (or I am w aiting for a num ber to be issued to me), an d
2.     I am not subject to backup withholding because. (a) I am exempt from backup withholding , or (b) I have not been notified by the Internal Revenue
       Service (IRS) that I am subject to backup withholding as a result of a failure to report all interest or dividends, or (c) the IRS has notified me that I
       am no longer subject to backup withholding, and
3.      I am a U.S. person (Including a U.S. resident alien).

Certification instructions. You must cross out item 2 above if you have been notified by the IRS that you are currently subject to backup
withholding because you have failed to report all intere st and dividends on your tax return. For real estate transactions , item 2 does not apply.
For mortgage interest paid, acquisition or abandonment of secured property, cancellation of debt, contributions to an individual retirement
arrangement (IRA), and generally, payments other than inter t and dividends, you are not required to sign the Certification, but you must
 rovide our correct TIN. See the instructions on a e 3
Sign          Signature of
Here          U.S . erson ....                                                                      Date ....      f> . ( • ( ::/-
Minority and Women-owned Businesses (M/WBEs) Self                                                                              tlon (Please check all boxes that apply)

In an effort to track levels of participation by women and minoritie do ng busi ness with the State of Colorado, the following information is
requested . Please Indicate the appropriate category of ownership for your company. "Owned" in this context means a business that is at least 51
percent owned by an lndividual(s) who also control(s) and operate(s) it. ·control" in this context means exercising the power to make policy
decisions. "Operate• means actively involved in the day-to-day management. If you business is jointly owned by both men and women or is a
large publicly held corporation, please check the box labeled "Not Applicable."

Gender Information:
c Female-Owned                                      c Male-Owned                                       ;(Not Applicable

Owner Ethnic ity Information
KAfrican American         otAsian/Pacific American                                                     c White (non-Hispanic)                                o Not Applicable
~His p anic American      c Native American                                                          c Other:

Small Bus iness I nformation
Small Business (a business that is organized for profit, is independently owned and operated, and has 25 or fewer full time equivalent
employees .)
  es         c No




                                                                                                                                                                                                                                          EXHIBIT 17
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Purpose of Form                                        Foreign person. If you are a foreign person, do
                                                                                                              Payments you receive will be subject to
                                                       not use Form W-9. Instead, use the appropriate
                                                                                                              backup withholding if:
A person who is required to file an information        Form W-8 (see Publication 515, Withholding of
                                                                                                                  1. You do not furnish your TIN to the
                                                       Tax on Nonresident Aliens and Foreign Entities).
return with the IRS, must obtain your correct                                                                 requester,
taxpayer identification number (T IN) to report, for Nonresident alien who becomes a resident                     2. You do not certify your TIN when required
example, income paid to you , real estate               alien.                                                (see the Part II instructions on page 4 for
transactions, mortgage interest you paid,               Generally, only a nonresident alien individual        details),
acquisition or abandonment of secured property, may use the terms of a tax treaty to reduce or                    3. The IRS tells the requester that you
cancellation of debt, or contributions you made         eliminate U.S. tax on certain types of income.        furnished an incorrect TIN,
to an IRA.                                              However, most tax treaties contain a provision            4. The IRS tells you that you are subject to
                                                        known as a · saving clause." Exceptions specified backup withholding because you did not report
U.S. person. Use Form W -9 only if you are a
U.S. person (including a resident alien), to            in the saving clause may permit an exemption          all your interest and dividends on your tax return
provide your correct TIN to the person                  from   tax to continue for certa in types of income   (for reportable interest and dividends only), or
requesting it (the requester) and , when                even after the recipient has otherwise become a           5. You do not certify to the requester that you
applicable, to:                                         U.S. resident alien for tax purposes.                 are not subject to backup withholding under 4
    1. Certify that the TIN you are giving is correct                                                         above (for reportable interest and dividend
(or you are w aiting for a number to be issued),           If you are a U.S. resident alien who is relying    accounts opened after 1983 only).
                                                        on an exception contained in the saving clause            Certa in payees and payments are exempt
   2. Certify that you are not subject to backup
withholding, or                                         of a tax treaty to claim an exemption from U.S.       from backup withholding. See the instructions
   3. Claim exemption from backup withholding if tax on certain types of income, you must attach a below and the separate Instructions for the
you are a U.S. exempt payee.                            statement to Form W-9 that specifies the              Requester of Form W-9.
                                                        following five items:                                     Also see Special rules regarding partnerships
   In 3 above, if applicable, you are also
certifying that as a U.S. person , your allocable           1. The treaty country. Generally, this must be    on page 1.
share of any partnersh ip income from a U.S.            the same treaty under which you claimed
trade or business is not subject to the                 exemption from tax as a nonresident alien .           Penalties
withholding tax on foreign partners' share of              2. The treaty article addressing the income.
                                                           3. The article number (or location) in the tax     Failure to furnish TIN. If you fail to furnish your
effectively connected income.                                                                                 correct TIN to a requester, you are subject to a
                                                        treaty that contains the saving clause and its
Note. If a requester gives you a form other than        exceptions.                                           penalty of $50 for each such failure unless your
Form W-9 to request your TIN , you must use the            4. The type and amount of income that              failure is due to reasonable cause and not to
requester's form if it is substantially similar to this qualifies for the exemption from tax.                 willful neglect.
 Form W-9.                                                 5. Sufficient facts to justify the exemption from Civil penalty for false information with
   For federal tax purposes, you are considered         tax under the terms of the treaty article.            respect to withholding. If you make a false
a person if you are:                                       Example. Article 20 of the U.S.-China income statement with no reasonable basis that results
• An individual who is a citizen or resident of the tax treaty allows an exemption from tax for               in no backup withholding, you are subject to a
   United States,                                       scholarship income received by a Chinese              $500 pena lty.
• A partnership, corporation , company, or              student temporarily present in the United States.
   association created or organized in the United Under U.S. law, this student will become a                  Criminal    penalty for falsifying information.
   States or under the laws of the United States,       resident alien for tax purposes if his or her stay    Willfully falsifying certifications or affirmations
   or                                                   in the United States exceeds 5 calendar years.        may subject you to criminal penalties including
• Any estate (other than a foreign estate) or           However, paragraph 2 of the first Protocol to the fines and/or imprisonment.
    trust. See Regulations sections 301 .7701 -6(a) U.S.-China treaty (dated April 30,                        Misuse of TINs. If the requester discloses or
   and 7(a) for additional information.                 1984) allows the provisions of Article 20 to          uses TINs in violation of federal law, the
                                                        continue to apply even after the Chinese student requester may be subject to civil and criminal
Special rules for partnerships. Partnerships            becomes a resident alien of the United States. A penalties.
that conduct a trade or business in the United          Chinese student who qualifies for this exception
States are generally required to pay a                  (under paragraph 2 of the first protocol) and is
withholding tax on any foreign partners' share of
                                                        relying on this exception to claim an exemption       Specific Instructions
 income from such business. Further, in certain         from tax on his or her scholarship or fellowship
cases w here a Form W-9 has not been received ,
                                                        income would attach to Form W-9 a statement            Name
a partnership is required to presume that a             that includes the information described above to
partner is a foreign person , and pay the                                                                     If  you are an individual, you must generally enter
                                                        support that exemption.                               the name shown on your income tax return.
withholding tax. Therefore , if you are a U.S.             If you are a nonresident alien or a foreign
person that is a partner in a partnership                                                                     However, if you have changed your last name,
                                                        entity not subject to backup withholding, give the for instance, due to marriage without informing
conducting a trade or business in the United            requester the appropriate completed Form W-8.
States, provide Form W-9 to the partnership to                                                                the Social Security Administration of the name
establish your U.S. status and avoid withholding        What is backup withholding? Persons making change, enter your first name, the last name
on your share of partnership income.                    certain payments to you must under certain            shown on your social security card, and your
                                                        conditions w ithhold and pay to the IRS 28% of        new last name.
    The person who gives Form W-9 to the                such payments (after December 31 , 2002). This            If the account is in joint names, list first, and
 partnership for purposes of establishing its U.S.                                                            then circle, the name of the person or entity
                                                        is called "backup w ithholding." Payments that
status and avoiding withholding on its allocable        may be subject to backup w ithholding include         whose number you entered in Part I of the form.
share of net income from the partnersh ip               interest, dividends, broker and barter exchange
 conducting a trade or business in the United                                                                 Sole proprietor. Enter your ind ividual name as
                                                        transactions, rents, royalties, nonemployee pay, shown on your income tax return on the "Name"
 States is in the following cases:                       and certain payments from fishing boat                line. You may enter your business, trade, or
 • The U.S. owner of a disregarded entity and           operators. Real estate transactions are not
    not the entity,                                                                                           "doing business as (OBA)" name on the
                                                         subject to backup withholding .                      "Business name" line.
 • The U.S. granter or other owner of a granter            You will not be subject to backup withholding
    trust and not the trust, and                         on payments you receive if you give the               Limited liability company (LLC). If you are a
 • The U.S. trust (other than a granter trust) and      requester your correct TIN, make the proper            single-member LLC (including a foreign LLC with
    not the beneficiaries of the trust.                  certifications, and report all your taxable interest a domestic owner) that is disregarded as an
                                                         and dividends on your tax return.                    entity separate from its owner under Treasury




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regulations section 301 .7701-3, enter the                The chart below shows types of payments that Identification Number, to apply for an EIN. You
owner's name on the "Name• line. Enter the             may be exempt from backup withholding. The       can apply for an EIN online by accessing the IRS
LLC's name on the "Business name• line. Check          chart applies to the exempt recipients listed    website at www.irs.gov/businesses and clicking
the appropriate box for your filing status (sole       above, 1 through 15.                             on Employer ID Numbers under Related Topics.
proprietor, corporation, etc.), then check the box                                                      You can get Forms W-7 and SS-4 from the IRS
for "Other" and enter "LLC" in the space                                                                by visiting www.irs.gov or by calling 1-800-TAX-
                                                       IF the payment Is for THEN the payment is
provided.
                                                       ...                    exempt                    FORM (1-800-829-3676).
Other entities. Enter your business name as                                   for ..•                      If you are asked to complete Form W-9 but do
shown on required federal tax documents on the                                                          not have a TIN, write "Applied For" in the space
                                                       Interest and dividend All exempt recipients
"Name' line. This name should match the name           payments               except for 9              for the TIN, sign and date the form, and give it to
shown on the charter or other legal document                                                            the requester. For interest and dividend
creating the entity. You may enter any business,                                                        payments, and certain payments made with
                                                       Broker transactions    Exempt recipients 1
trade, or DBA name on the "Business name·                                                               respe~t to readily tradable instruments, generally
                                                                              through 13. Also, a
line.                                                                                                   you will have 60 days to get a TIN and give it to
                                                                              person registered under
Note. You are requested to check the                                          the Investment Advisers   the requester before you are subject to backup
appropriate box for your status (individual/sole                              Act of 1940 who regularly withholding on payments. The 60-day rule does
proprietor, corporation, etc.).                                               acts as a broker          not apply to other types of payments. You will be
                                                                                                        subject to backup withholding on all such
Exempt From Backup Withholding                         Barter exchange                                  payments until you provide your TIN to the
                                                                              Exempt recipients 1
                                                       transactions and                                 requester.
                                                                              through 5
If you are exempt, enter your name as described        patronage dividends                              Note. Writing "Applied For" means that you have
above and check the appropriate box for your
                                                                                                        already applied for a TIN or that you intend to
status, then check the "Exempt from backup
                                                                                                        apply for one soon.
withholding• box in the line following the
business name, sign and date the form.                 Payments over $600 Generally, exempt             Caution:   A disregarded domestic entity that has
   Generally, individuals (including sole              required to be         recipients 1 through 72   a foreign owner must use the appropriate Form
                                                       reported and direct
proprietors) are not exempt from backup                                                                 W-8.
                                                       sales over $5,0001
withholding. Corporations are exempt from
backup withholding for certain payments, such
as interest and dividends.                             1. See Form 1099-MISC, Miscellaneous Income and its
                                                       instructions.                              '
Note. If you are exempt from backup
withholding, you should still complete this form to    2. However, the following payments made to a corporation
                                                       (Including gross proceeds paid to an attorney under section
avoid possible erroneous backup withholding.
                                                       6045(f), even if the attorney Is a corporation) and
Exempt payees. Backup withholding is not               reportable on Form 1099-MISC are not exempt from
                                                       backup withholding: medical and health care payments,
required on any payments made to the following
                                                       attorneys' fees; and payments for seNices paid by a
payees:                                                federal executive agency.
   1. An organization exempt from tax under
section 501(a) , any IRA, or a custodial account
under section 403(b)(7) if the account satisfies       Part I. Taxpayer Identification
the requirements of section 401 (f)(2),                Number (TIN)
   2. The United States or any of its agencies or
instrumentalities,                                     Enter your TIN in the appropriate box. If you
   3. A state, the District of Columbia, a             are a resident alien and you do not have and are
possession of the United States, or any of their       not eligible to get an SSN, your TIN is your IRS
political subdivisions or instrumentalities,           individual taxpayer identification number (ITIN).
   4. A foreign government or any of its political     Enter it in the social security number box. If you
subdivisions, agencies, or instrumentalities, or       do not have an ITIN, see How to get a TIN
   5. An international organization or any of its      below.
agencies or instrumentalities.                            If you are a sole proprietor and you have an
      Other payees that may be exempt from             EIN, you may enter either your SSN or EIN.
   backup withholding include:                         However, the IRS prefers that you use your
   6. A corporation,                                   SSN.
   7. A foreign central bank of issue,                    If you are a single-owner LLC that is
   8. A dealer in securities or commodities            disregarded as an entity separate from its owner
required to register in the United States, the         (see Limited liability company (LLC) on page 2),
District of Columbia, or a possession of the           enter your SSN (or EIN, if you have one). If the
United States,                                         LLC is a corporation, partnership, etc., enter the
   9. A futures commission merchant registered         entity's EIN.
with the Commodity Futures Trading                     Note. See the chart on page 4 for further
Commission,                                            clarification of name and TIN combinations.
   10. A real estate investment trust,
   11 . An entity registered at all times during the   How to get a TIN . If you do not have a TIN,
tax year under the Investment Company Act of           apply for one immediately. To apply for an SSN,
1940,                                                  get Form SS-5, Application for a Social Security
   12. A common trust fund operated by a bank          Card, from your local Social Security
under section 584(a),                                  Administration office or get this form online at
   13. A financial institution,                        www.socialsecurity.gov. You may also get this
   14. A middleman known in the investment             form by calling 1-800-772-1213. Use Form W -7,
community as a nominee or custodian, or                Application for IRS Individual Taxpayer
   15. A trust exempt from tax under section 664       Identification Number, to apply for an ITIN, or
or described in section 4947.                          Form SS-4, Application for Employer




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    Part II. Certification
    To establish to the withholding agent that you are a U.S. person, or resident alien, sign Form W-9. You may be requested to
    sign by the withholding agent even if items 1, 4, and 5 below indicate otherwise.
    For a joint account, only the person whose IN is shown in Part I should sign (when required). Exempt recipients, see Exempt
    From Backup Withholding on page 2.
    Signature requirements. Complete the certification as indicated in 1 through 5 below.
      1. Interest, dividend, and barter exchange accounts opened before 1984 and broker accounts considered active
    during 1983. You must give your correct TIN , but you do not have to sign the certification.
      2. Interest, dividend, broker, and barter exchange accounts opened after 1983 and broker accounts considered
    Inactive during 1983. You must sign the certification or backup withholding will apply. If you are subject to backup
    withholding and you are merely providing your correct TIN to the requester, you must cross out item 2 in the certification
    before signing the form.
      3. Real estate transactions. You must sign the certification. You may cross out item 2 of the certification.
       4. Other payments. You must give your correct TIN, but you do not have to sign the certification unless you have been
    notified that you have previously given an incorrect TIN. "Other payments" indude payments made in the course of the
    requester's trade or business for rents, royalties, goods (other than bills for merchandise), medical and health care services
    (including payments to corporations), payments to a nonemployee for services, payments to certain fishing boat crew
    members and fishermen, and gross proceeds paid to attorneys (including payments to corporations).
      5 . Mortgage interest paid by you, acquisition or abandonment of secured property, cancellation of debt, qualified
    tuition program payments (under section 529), IRA, Coverdell ESA, Archer MSA or HSA contributions or
    distributions, and pension distributions. You must give your correct TIN , but you do not have to sign the certification.


    Wh at Namean dN um b er T 0 G"1ve t he Reauester
    For this tvoa of account:                                                      Give name and SSN of:
    1. Individual                                                                  The individual
    2. Two or more individuals Ooint account)                                      The actual owner of the account or, if combined funds, the first
                                                                                   individual on the account 1
    3. Custodian account of a minor (Unifonn Gift to Minors Act)                   The minor 2
    4. a. The usual revocable savings trust (granter is also trustee)
    b. So-<:alled trust account that is not a legal or valid trust under
                                                                                                            1
       state law                                                                   The granter-trustee
    5. Sole proprietorship or single-owner LLC
                                                                                                        1
                                                                                   The actual owner



                                                                                   The owner 3

    For this tvoa of account                                                           Give name and EIN of:
    6. Sole proprietorship or single-owner LLC                                         The owner 3
    7. A valid trust, estate, or pension trust                                         Legal entity •
    8. Corporate or LLC electing corporate status on Fenn 8832                         The corporation
    9. Association, club, religious, charitable, educational, or other                 The organization
          tax-exempt organization                                                      The partnership
    10. Partnership or multi-mem ber LLC                                               The broker or nominee
    11. A broker or registered nominee                                                 The public entity
    12. Account with the Department of Agriculture in the name of a
          public entity (such as a state or local government, school
          district, or prison) that receives agricultural program
          oavments                                                                                          ..
    1. List first and arde the name of the person whose number you furntsh. If only one person on a Jotnt account has an SSN, that persons number must
        be furnished.
    2. Cirde the mino(s name and furnish the minor's SSN.
    3. You must show your individual name and you may also enter your business or "OBA" name on the second name line. You may use erther your SSN
        or EIN (If you have one). If you are a sole proprietor, IRS encourages you to use your SSN.
    4 . List first and cirde the name of the legal trust, estate, or pension trust. (Do not furnish the TIN of the personal representa!Jve or trustee unless the
        legal entity itself is not designated in the account title.) Also see Special rules ragarring partnerships on page 1.


    Note. If no name is circled when more than one name is listed, the number will be considered to be that of the first
    name listed.




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                          Payment Automation Network, Inc.
                         Client Bank Authorization Agreement


   I agree to allow Payment Automation Nel'M>r1<, Inc. of Medford, Oregon to begin processing the customer
   infonnation to be supplied to them. I authorize Payment Automation Networ1c, Inc. and the ACH
   Processor of their choice to disburse and draft our account for the servicing fees and disbursements
   amount based on the signed account servicing agreement

   Wire transfer and banking fees will be deducted from any client disbursements.



   Bank:      BANtc::   OF'   ,6.'1€© CA

   Bank telephone: - - - - - - - - -

   Bank routing   number: ~                             Bank account        number: ~

   Your company infonnation:

   Company:        A'2£:::C e-- ~tNANQAL                   4-@?UD
   Address:       'Z~5 (      E . D'{SIZ- ~0

   City:   ?ANI~--- State:                                CA.                  Zip:         Cf Z.f<> £
   Telephone:      __.             2 23 (               Fax:      M 1+1· 2-'2-0                     · 6?~0
                                                        Tide: Pf.@f ~fl7                    Date:    f3 · f • f J

                                    Please include a copy of a voided check




                                    This page is part or the Payment Servicing Agreement.




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   Note: The following page is the Preautho rized Check and ACH Authorization Form signed by your
   clients. This page will need to be incorpo rated into the documents you have your clients sign.

   This form gives Payment Automation Networ1<, Inc. the authority to collect payments on your behalf. If a
   payment is ever disputed by your client, the signed Preauthorized Checking and ACH Authorization Form
   must be provided to Payment Automation Netw:>rk, Inc. on request




                                         Initial




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        Preauthorized Chec king and ACH Author ization Form


                          First Name                                         Last Name



                              Street Address                                               Phone#                                Cell Phone#



                       City                            State              Zip                                   Email address




        DESIGNATED BANK ACCOUNT DEBIT AUTHORIZATION


          BankName                                                                  Bank Routing Number (as it appears on the check)



           Name as it appears on bank account                                       Bank Account Number                 o   Checking    o Savings




        DESIGNATED BANK ACCOUNT DEBIT SCHEDULE AUTHORIZATION

                                                                                          o One Time
             Deposit Amount$_ _ __ _ _ Start Date _ _ _ _ __                              o Monthly       Number of Payments _ _ __

                                                                                          o One Time
             Deposit Amount$_ _ _ _ _ _ Start Date _ _ _ _ __                             o Monthly       Number of Payments _ _ __




I authorize Payment Automation Network to initiate Automatic Clearing House (ACH) debits or EFT (electronic funds transfer) from my designated bank
account at the financial institution identified above. I authorize Payment Automation Network to debit my bank account according to the schedule of debits
provided to Payment Automation Network by me or on my behalf or as otherwise provided by agreement I understand that debits will be withdrawn on the
due date unless the otherwise indicated and that sufficient funds must be available in designated account at least two (2) business days prior to the actual
date of the debit Upon my approval, Payment Automation Network may adjust the amount being debited from designated bank account. This authorization is
to remain in force until the schedule of debits is completed or until Payment Automation Network has received written notification from me of a change or
termination, allowing Payment Automation Network no fewer than five (5) business days to act. Payment Automation Network shall not be liable to any
person for not completing a transaction as a result of any limit on my designated bank account or if a financial institution fails to honor any debit from such
account. I understand it is my responsibility to notify Payment Automation Network immediately if a scheduled debit does not occur. I authorize Payment
Automation Network to recover funds an ACH/eCheck debit from my bank account in the event of an error or in the event that a prior debit is returned for any
reason, including non-sufficient funds. I understand that a $25.00 service charge will be added for every NSF draft. I understand I can call Payment
Automation Network at 800.a13-3740 to cancel the automatic draft payments. Payments will be drafted on the payment due date of the original Student
Loan Consolidation agreement. I understand and agree that Payment Automation Network, Inc. is not a debt collector. Payment Automation Network, Inc.
is merely acting as a payment processor and any inquiry concerning amounts due and owing should be made to the Student Loan Consolidation Company.

I have read and understand the information contained in this document and I affirm that the above information given by me is accurate and true to the best of
my knowledge.



               SIGNATURE - - - - - - -- -- - - - - DATED _ _ _ _ _ __




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                                   SCRIPT



 Loan forgiveness dept. _ _ _ _ speaking, how may I help you? (Pause)

 May I ask who I am speaking to?
 (Write name and phone numb~r down)
About how much do you currently owe in federal student loans?
 (Write the amount down.)
Approximately how much are your monthly payments?
 (Write the amount down.)


Okay so let me tell you a little bit about the program and then we'll go in
and see what we can get you qualified for.
What the Dept. of Education requires from you is that you make a monthly
payment on your loans for a set term.
Our goal here is to try and get you as close to $0 payment on a monthly
basis as possible. The Department of Education bases your payments off
your income as well as your family size and the duration of the term is
based on what you do for work.
With that being said, what do you do for work?
(If PSLF) ·GreaU A very special door opens for you; it's called the Public
Service Loan Forgiveness, the best program available.
Now I would like to take a look at your loans and the way I view them is on
the National Student Loan Data System with your email address that may
be associated with your loans, I can put that in the system and see if I can
get a match on you.
May I get that email address and your Date of Birth please?
(Write that information down and enter that into NSLDS under forgot my
password, send 6 digit if you get a match. Enter code into NSLDS and
update password to Studentloan2019).



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 (Log into clients acct. on NSLDS and pull loans over to Debt Pay Pro)


 Start filling in client's information (first name, last name, phone number,
 DOB, annual gross income, family size and state. Calculate and save.


·Tell client that you are going to place them on a brief hold while you go
 over the numbers with the underwriting department; ask them to get a pen
 and paper while they are on hold.


 While client is on hold write down the calculations of the enrollment fees:
 example ($232 X 3) and then see what the REPAVE or I.CR (if applicable)
 dollar amount is and add that together with our $39 service and
 maintenance fee. Take that number and multiply it by 120 or 240 whichever
 one applies to client based off of their employment. ( 120 if PSLF)


 Take client off of hold and ask them to write down these numbers:


 Example:
 232 x 3   =$695
 61 x 240 = $14,640


 Now the $232 x 3 is going to be the first 3 payments to get you enrolled into
 the program.
 So, it will be $232 for the first, second and third month.
 Now what that is, is us enrolling you and submitting your application on
 your behalf to the Department of Education. We would then file for the
 consolidation and forgiveness portion. After that we contact your current
 servicer on your behalf and place you into what is called administrative



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           forbearance (providing you still have forbearance time left). That way any
           future payments they may be looking for you will not be penalized for not
           making them.
           Starting on your 4th month your payments will be based off of your income
           and family size.
           I got you qualified for $_ to your servicer which is accompanied by our
           $39 service and maintenance fee that we charge on a monthly bases to
           keep you reenrolled into the program for the next 120 or 240 months.
           How does that sound to you? Would you like to move forward? (Fill out the
           application if yes)



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                 Annual                                                                                                                       Family Si:te
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                          $40,000                                     $194                                                       $95                                 $53                           .$11                             $0                                                      $0
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                           $45,000                                     $235                    $186                          $136                                    $94                            $52                      )$10                                $0                         $0
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                          $65,000                                     $402                     $353                          $303                              $261                             $219                         $177                        $135                           $93




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                   Annual                                                                                                                     Family Size
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                             $35,000                                     $234                    $164                              $94                                $24                                $0                           $0                           $0
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                            $40,000                                     $297                    $227                           $157                                   $87                            $16                             $0                            $0
                            $45,000                                      $359                    $289                          $219                                  $149                             $79                         $10                              $0
                            $50,000                                      $422                    $352                          $282                                  $212                         $141                            $71                              $0
 ~.!000                                                                 $484                     $414                          $344                                  $274                         $204                         $134                            $64

                            $60,000                                     $547                     $477                          $407                                  $337                         $266                         $196                          $126
                                                                         $609                    $539
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                            $65,000                                                                                            $469                                  $399                         $329                         $259                          $189

                                                                                                                                                                                                                                                                               EXHIBIT 19
                                                                                                                                                                                                                                                                                Page 122
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  From:          Ly Phu
  To:                     i@gmail.com; sye@aretefinancialfreedom.com
  Subject:       Civil Investigative Demand
  Date:          Friday, July 26, 2019 5:30:49 PM
  Attachments:   Sye"s Documents Front.pdf
                 Back side.pdf




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                                                                        Page 124
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                                         U nitcd ta tes of .-\ merica
                                                  #:3241
                                                                              Bureau of Conswncr f-inancial Protection

                                                                              Civil Investigative Demand
To Judith Noh                                                                  This demand is iss ued pursuant to Section 1051 of the Consumer Financial
                                                                               Prorccnon .\c1 of 10!0 and 12 C.F.R. Part 1080 ro cleterm1nc whether th ere 1s or
   18001 Sky Park Circle, Suite L
   Irvine, CA 92614                                                            has been a violation of any laws enforced by rhe Bureau of Consumer Fu1a11cial
                                                                               Protecuon.



Action Required

      /         Appear and Provide Oral Testimony

                    Location of lnvc::a)!nttonal I leanng                                      D:ire and T ime of l11vc:snh"'1t0nnl I leanng

                     Ro nald Reagan Federal Courthouse                                          September , - & 18. 20 19 at 9:00 am Pacific Time

                     -11 l \'\'. -J.th St Room 3055
                     SanLa ,\na , C. \ 9270 l
                                                                                                 Rina Tucker Harris

    II           Produce D ocume n ts a nd /o r T ang ible Thi ngs, as se t forth in th e attac hed documen t, by th e following dace 08/16/2019

    II          Provide Wriile n Rep orts and/or Answers co Questions, as set fonh in the a tt ach ed d ocum e nt, by the following d ate 08/ l6/ 20l9


Notification of Purpose Purs uant to 12 C.F.R. § 1080.5

 The purpose of rhe investigation 1s ro determine whether debt-relief or debt-management providers or .issociatcd persons, 111
 connection w1rh the advertising, marketing or sale of debr-rd1ef or dc.:br marn1gcmcnt services or products, mcluding but not hmired ro
 debt negoaaaon, debt eliminaaon, debt scrrlemcnr, or credit counseling, have( !) made fol~c or misleading representations to
 consumers or improperly imposed charges on or rook payments from consumers in a manner thar is unfair or deceptive, in v10lacion of
 Sections L03 1 and 1036 of the Consumer Fmancial Protection . \ c1 or 10 I 0, l2 U.S.C. §§ 553 J, 5536; or (2) made false or misleading
 represcnraaons to consumers, requested or received prohibited paymenrs from consumers, or failed to follow the requirements for
 pro,·iding d1sclosures to consumers 111 a manner that violates the Telemarketing Sales Rule, 16 C.F.R. Part 310. The purpose of this
 investigation is also to determine wherher the Bureau action to obtain legal or equitable relief would be in the public interest.


Cus todian / D eputy Custodian                                                                     Bureau Counsel
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Date Issue d                                          Signature      David M Rubenstein                            Digitally signedbyDavidMRubensteln
                                                                                                                   Date: 2019.07.23 13:43:21 -04'00'
 07/23/2019
                                                      Name/ T itle   David M. Rubenstein/ Deputy Enforcement Director

Service                                                                        Right to Regulatory Enforcement Faimess
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prescribed by the Consumer 1.-inancial Prmccrion , \ er                        under Small Business , \dmin1srraoon sramfards, you h:wc :i nght to cunrac1 1hc Sm:111
of 2010, 12 U.S.C § 5562, i,; legal sen ice. If you fail                       Business .\dmini,;tmuon's National Ombudsman at 1-888-IU ~C 11AIR (1-888-734-3247)
to comp'ly with this demand. the Bureau may seek a                             or www.sba.11ov/ umbuLlsmai1 regarding 1bc fuirocss of the compliance and enforcement
court order rcciuicing your compliance.                                        activitie:: of 1hc :,gency. You ~houl<l undcr~rnnd, however, that rhc Nnrional Ombudsman
                                                                               cannot change. srop, or <lch1r a federal agency en forccmcnt action.
Travel Expenses
Request n rr.,vcl voucher to cbtm compcn~aritln ro                             Paperwork Reduc tion Act
wluch you arc cnmled as a wunc.-;s before rhe Bureau                           This demand docs not rc<1uirc approval b} 0~18 under the Paperwork Reduction .\ct of
pursuant to Sccnon 1052 of the Consumer liina.ncinl                            1980,
l'rotecrion \c1 of 20 I0, 12 U.S.C. § 55()2.
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    9. Copies of any complaint, settlement, order, consent order, judgment, assurance
       of voluntary compliance, or warning letter related to any Government Action
       concerning the Student Loan Products and Services.

    10. Copies   of any notice, complaint, or cease and desist letter from any student loan
          servicer concerning the Student Loan Products and Services.

    11.   Organizational cha1ts sufficient to show the Company's management structure,
          personnel hierarchy, and ownership of the Company as of the date of this CID.

    12. Each     unique version of document retention or destruction policies and
          procedures, including any policies relating to recording and retaining telephone
          calls and ESI.

    13. All Documents relied upon in preparing your answers to the Interrogatories or
        identified in response to any of the Interrogatories.

                              Requests for Written Reports


    1.    In a Microsoft Excel spreadsheet, provide the following information for each
          consumer with whom the Company has contracted to provide Student Loan
          Products or Services:
              a. Consumer name;
              b. Address;
              c. Phone number;
              d. Email address;
              e. The Student Loan Products or Services provided;
              f. Date of contract with the Company ("contract date");
              g. The amount of the first fee charged by the Company;
              h. The date of first fee charged by the Company;
             1. Any monthly fee charged by the Company;
             J. The number of monthly fees charged by the Company;
             k. Principal amount of consumer's loans addressed by the Student Loan
                 Products or Services at the contract date;
             1. The amount of the consumer's monthly payment due at the time of the
                 contract date;
              m. The status of the consumer's loans addressed by the Student Loan
                 Products or Services at the contract date (i.e. in deferment or forbearance,
                 current, delinquent, or in default)
              n. The repayment plan that the consumer's loans addressed by the Student
                 Loan Products or Services were on prior to the contract date (i.e. normal,
                 graduated, extended, or income-driven);
              o. The number of payments remaining on the consumer's loans addressed by
                 the Student Loan Products or Services at the time of the contract date;




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    3. Identify all the loan consolidations that the Company assisted consumers in
       obtaining, including without limitation, the name, address, email address of the
       consumer, how the Company assisted in obtaining the loan consolidation, and
       the entity that provided such assistance.

    4. Identify the methods used by the Company to market, publicize, or find
       consumers interested in any Student Loan Products or Services identified in
       response to Interrogatory 1, including without limitation the Company's use of
       direct-mail solicitations, outbound sales calls to consumers, websites, social
       media sites, and lead generators.

    5. Explain the Company's-source(s) of leads for prospective clients for Student Loan
       Products or Services identified in response to Interrogatory 1. Include in the
       answer an identification of all persons or companies who generate leads to or sell
       consumer contact information to the Company, the methods that such persons or
       companies use (including, but not limited to, advertising, telemarketing, and
       email marketing), all contact methods (including specific telephone numbers)
       that such persons or companies use to route potential customers to the Company,
       and for which entities the leads are provided.

    6. Identify the methods used by the lead genera tor or the Company's source(s) of
       leads identified in response to Interrogatory 4, to market, publicize, or find
       consumers to solicit for any Student Loan Product or Services identified in
       response to Interrogatory 1.

    7. Explain whether the Company reviews the representations made by the lead
       generator or the Company's source(s) of leads identified in response to
       I nterrogatory 4, including promotional materials, scripts, and FAQs used to
       market or promote the Company's Student Loan Products or Services to potential
       clients.                                    '

    8. Explain the methods used by the Company to identify "the best option" for a
       student loan borrower's personal situation, as represented on the Company's
       website.
    9. Describe the manner in which the Company discloses the total fees it charges
       consumers for the Student Loan Products or Services, before consumers agree to
       sign up for these products or services.

    10. Describe   the process by w hich the Company applies for loan consolidation or
          forgiveness on behalf of the consumer, including any platforms it uses or any
          tracking programs used to follow the progress of the process.

    11.   Describe whether and bow the Company comm unicates updates about the status
          and progress of the loan application to the consumer.

    12. Explain whether the Company obtained consumer credit information from any
          consumer reporting agency ("CRA"), including without limitation the date of the



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       calls, and the person(s) responsible for maintaining any such notes, logs, or
       recordings.

    19. ldentify all of the Company's owner(s), member(s) or shareholder(s).

    20. Identify all directors and executive officers of the Company, including under
        which entities they serve and their positions and dates of service for each.
        Include all dates of service regardless of whether those dates fall outside the
        Applicable Period for Responsive Materials.

    21. Describe the complete organizational structure of the Company, identifying all
        parents, subsidiaries, d/ b/a, unincorporated divisions, affiliates, sister
        companies, branches, joint ventures, franchises, or entities over which it
        exercised supervision or control, and for each entity, state the following:
        a. legal name and address of the principal place of business;
        b. all other offices or locations;
        c. date and location of incorporation or organization;
        d. all trade names under which it has done business;
        e. all products and services th e entity advertised, offered, provided, or sold to
           consum ers; and
        f. date, if any, that it ceased doing business and the reason the entity terminated
           its operations.

    22. To the extent not already identified in response to Inten ogatory 1, identify and
        describe with specificity the products and/or services offered, sold, or provided to
        consumers by the Company.

    23. State, separately for each year for each entity, th e Company's annual revenues.

    24.Identify the name and address of the financial institution(s) used by the
       Company to deposit, receive, or transfer fees and funds provided by consumers in
       connection with the Company's Student Loan Products or Services. Include the
       bank account number and the name and address of the account holder.

    25. Identify the name and address of the paymentprocessor(s) used by the Company
        to receive or transfer fees or funds provided by consumers in connection with the
        Company's offering or providing Student Loan Products or Services.

    26. Identify each website and associated webpages that the Company, in whole or in
        part, owned, controlled, managed, or for which the Company has or had
        registered domain names and on which the Company advertised1 marketed or
        otherwise made available Student Loan Products or Services, and for each such
        website state:
            a. its full name and URL;
           b. whether it redirected the viewer to another website and, if so, identify the
               URL for each such website;
            c. the full name and URL of each website, if any, that redirected its viewers to



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 ventures, operations under assum ed names, and affiliates, and any successor in interest
 to any of the foregoing.

 G.     "Deputy Enforcement Director" refers to a Deputy Assistant Director of the
 Office of Enforcement.

 H.     "Document" means any written matter of every type and description, including
 electronically stored information. "Document" includes any non-identical copy (such as
 a draft or annotated copy) of another docum ent.

 I.    "Each" includes "every," and "every"includes "each."

 J.     "Electronically Stored Information," or "ESI," means the complete original
 and any non-identical copy (whether different from the original because of notations,
 different metadata, or otherwise) of any electronically created or stored information,
 including but not limited to e-mail, instant messaging, videoconferencing, SMS, MMS,
 or other text messaging, and other electronic correspondence (whether active, archived,
 unsent, or in a sent or deleted-items folder) , word-processing files, spreadsheets,
 databases, unorganized data, document metadata, presentation files, and sound
 recordings, regardless of how or where the information is stored, including if it is on a
 mobile device.

 K.    "Enforcement Director" refers to the Assistant Director of the Office of
 Enforcement.

 L.    "Government Action" means any federal, state, or tribal investigation,
 lawsuit, settlement, order, consent m·der, judgment, assurance of voluntary compliance,
 or warning letter.

 M.      "Identify" means to provide: (a) for natural persons, their name, title or
 position, present business affiliation, present business address, e-mail address, and
 telephone number, or if a present business affiliation or present business address is not
 known, the last known business address, home address, e-mail address, and telephone
 number; (b) for businesses or other organizations, the name, address, identities of
 officers, directors, or managers of the business or organization, and contact persons
 with e-mail addresses and telephone numbers, where applicable; and (c) for documents,
 the title, date, authors, recipients, Bates numbers, if applicable, type of document or
 some other means of identifying the document, and the present or last known location
 or custodian.

 N.      "Payment Processor" shall mea n any Person that performs the function of
 collecting, formatting, charging, originating, transmitting, or processing a consumer's
 payment for goods or services directly or indirectly through the use of any payment
 mechanism, including but not limited to the Automated Clearing House system or
 Remotely Created Checks.




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              direct or indirect recipients;

       3.     the specific grounds for claiming the privilege;

       4.     the request to which the privileged document, information, or thing is
              responsive; and

       5.     its Bates number or range.

 In addition, the person who submits the schedule and the attorney stating the grounds
 for the privilege must sign it. A person withholding material solely based on a claim of
 privilege must comply with the requirements of 12 C.F. R. § 1080.8 rather than file a
 petition for an order modifying or setting aside a demand under 12 C.F.R. § 1080.6(e).
 Please follow the enclosed Document Submission Standards for further instructions
 about producing redacted privileged documents.

 E.      Document Retention: Until you are notified otherwise, you are required to
 retain all documents and other tangible things that you used or relied on in responding
 to this CID. In addition, you must retain, and suspend any procedures that may result in
 the destruction of, documents, information, or tangible things that are in any way
 relevant to the investigation, as described in the CI D's Notification of Purpose. You are
 required to prevent the destruction of relevant material irrespective of wh ether you
 believe su ch material is protected from future disclosure or discovery by privilege or
 otherwise. See 18 U.S.C. §§ 1505, 1519.

 F.     Modification Requests: If y ou believe that the scope of the search or response
 required by this CID can be narrowed consistent with the Bureau's need for documents
 or information, you are en couraged to discuss such possible modifications, including
 modifications of the requirements of these instructions, with Senior Litigation Counsel
 Rina Tucker Harris at (202) 435-9196. Modifications must be agreed to in writing by the
 Enforcement Director or a Deputy Enforcement Director. 12 C.F.R. § 1080.6(d).

 G.      Petition for Order Modifying or Setting Aside Demand: Under
 12 U.S.C. § 5562(f) and 12 C.F.R. § 1080.6(e), you may petition the Bureau'for an order
 modifying or setting aside this CID. To file a petition, you must send it by e-mail to the
 Burea u's Executive Secretary at ExecSec@cfpb.goY, copying the Enforcement Director at
 Enforcement@cfpb.gov, within 20 calendar days of service of the CID or, if the return
 date is less than 20 calendar days after service, before the return date. The subject line
 of the e-mail must say "Petition to Modify or Set Aside Civil Investigative Demand." If a
 request for confidential treatm ent is filed, you must file a redacted public petition in
 addition to the unredacted petition. All requ ests for confidential treatment must be
 supported by a showing of good cause in light of applicable statutes, rules, Bureau
 orders, court orders, or other relevant authority.

 H.      Certification: The person to whom the CID is directed or, if it is directed to an
 entity, any person having knowledge of the facts and circumstances relating to the
 production, must certify that the response to this CID is true and complete. This



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 an individual, or the past, present, or future payment for the provision of health care to
 an individual.

 M.     Information Identification: Each request for a written report or
 interrogatory in this CID must be answered separately and fully in writing under oath.
 All information submitted must clearly and precisely identify the request or requests to
 which it is responsive.

 N.      Submission of Documents in lieu of Reports or Answers: Documents in
 existence before your receipt of this CID that contain the information requested in any
 interrogatory may be submitted as part of or in lieu of an answer to the interrogatory. If
 you submit docum ents as part of or in lieu of an answer, you must clearly indicate the
 specific request to which the documents are responsive, and you must clearly identify
 the specific portion of the documents that are responsive, including page, paragraph,
 and line numbers, as applicable.

 0.     Declaration Certifying Records of Regularly Conducted Business
 Activity: Attached is a Declaration Certifying Records of Regularly Conducted Business
 Activity, which may limit the need to subpoena you to testify at future proceedings to
 establish the admissibility of documents produced in response to this CID. Please
 execute this Declaration and provide it with your response.

 P.     Production of Advertisements: A request for an Adve1tisem ent means a
 request for the material in the form made available to consum ers, including, for
 example, a ny envelopes, mailers, emails, linked websites, attachments, popups, or
 enclosures that may be provided with an Advertisement, as well as:

        1.     In the case of Direct Mail Advertisements and Advertisements
               disseminated by email that differ only with respect to information that was
               customized for individual Consumers, the Company may submit an
               Exemplar of each such Advertisement as provided to a Consumer
               populated with the terms that were customized for such Consumer. Other
               than terms that were customized for individual Consumers, all other
               differences between Advertisements (e.g., different term s, symbols,
               formats, templates, or underlying product type) constitute different
               Advertisements and an Exemplar of each different version should be
               produced.

        2.     In the case of any audio or video advertisements, provide:
               a. A complete recording; and
               b. All written scripts, photo boards, and transcripts in the Company's
                   possession, custody, or control.

        3.     In the case of a ny Advertisement accessible on the Internet, provide the
               electronic address, or URL, at which the Advertisement is or was
               accessible, if applicable, including any "mirrored" sites.




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               Premier Solutions Servicing Terms andl Conditions of Use
               Hello. and welcome to our Terms and Conditions of Use. This is important and affects your legal
               rights, so please read them and our Privacy and Cooki e Notice carefully.


               1. Introductions
               Welcome to premiersolutionsservicing.com ("Premier Solutions Servicing," "we," "us,'' ''our''). By
               using the Premier Solutions Servicing services or the studentloanpro.org website (the "Site,"
               together. the "Service"), you are entering into a binding contract us. Your agreement with us
               includes these Terms and Conditions of Use ("Terms") and our Privacy and Cookie Notice
               [www.studentloanpro.org/toc.php] (together, the "Agreements"). If you don't agree with these
               Terms, then please don't use the Service. We're pleased to make our Service available to you.
               Learn more about the Service here [www.studentloanpro.org/toc.php].

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 April 16th, 2019

                                         Changes with TPV Questions

 ‐If clients are unemployed, agents need to ask if they are still getting taxable income.

 ‐ Agents are not to ask how many family members that they have, but rather how many family members
 do they support 50% of their living expenses.

 ‐TPV needs to include that we are not responsible for any negative status (default, past due) prior to
 enrollment.

 ‐Line added to the end of the TPV: “Do you understand that any person who makes a knowingly false
 statement or misrepresentation on your form may be subject to fines?”

 *I know that there are still occurring issues with the agent’s lies to the clients. By adding that last
 TPV question at the end, it will reduce the amount of issues moving forward.



                                            Changes with New Files

 ‐If client is already DC’d, no more switching programs IBR  REPAYE

 ‐Anything in ‘NEW IRS ISSUE” status that is older than 60 days will be canceled if POI is not retrieved.

 ‐Servicer logins are needed if clients are told that they will be in FB.


                                                 1FILE Updates

 ‐Voicemail has been updated with our hours and time zone.

 ‐Since we only submit new applications that have POI on file or those who are unemployed, the email
 trigger requesting for pay stubs will be removed.

 ‐The Indians did agree that if there is no POI on file for clients who are in status, “New Client – IRS
 Issue”, after 60 days, the file may be cancelled.

 ‐Please be mindful of pay stub dates when uploading. We want to make sure that they are still valid
 during the time of submission.

 ‐Teresa will be giving you all update changes on how many weeks needs to be inputted for “Follow up”
 tasks. These updates will be stated in the RingCentral group chat.

 ‐Employment letters would have to be typed in a professional manner moving forward. This letter needs
 their name, name of employment, phone number and their annual or monthly gross income. NO HAND
 WRITTEN LETTERS.



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From:                Andy@1file.org
Sent:                Monday, October 21, 2019 9:53 AM
To:                  Processing @ USFFC
Subject:             RE: New Note Created On File:    SAM - -             5806


Umm… anyone who works and a District Attorney’s Office? Do you want that liability?

From: Processing @ USFFC <processing@usffc.org>
Sent: Monday, October 21, 2019 9:25 AM
To: andy@1file.org
Cc: jm@usffc.org
Subject: FW: New Note Created On File:     SAM ‐ ‐               5806

Andy,

Please mention the reason also, so that we don’t enroll such clients in future




Thanks,
USFFC Processing
US Financial Freedom Center
500 Ygnacio Valley Road,
Suite 430, Walnut Creek, CA 94596
Direct : 925.404.8078
Tel     : 844.358.8733
Fax     : 925.271.8352




From: andy@1file.org <andy@1file.org>
Sent: Friday, October 18, 2019 4:11 PM
To: processing@usffc.org
Subject: New Note Created On File:     SAM ‐ ‐           5806

Note Type: General
Entered By: Andy Poon
Notified: andy@1file.org, processing@usffc.org


Had a talk with Mike and we will not enroll this client.
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From:                 Andy@1file.org
Sent:                 Thursday, September 26, 2019 4:26 PM
To:                   Gary USFFC
Subject:              RE:       Espejo - CBCC-     1385


We are not responsible if FedLoan doesn’t believe that his family size is 5 while it is clearly shown on his taxes that he
files Single. I have told your managers that if client does file as single that we do not accept family size of 5 or higher. If
this is the case then we need proof that he does support the certain family size. There is nothing we can do and I have
told you this more than once.

From: Gary USFFC <gary@usffc.org>
Sent: Thursday, September 26, 2019 3:52 PM
To: andy@1file.org
Cc: 'Jay Madan (USFFC)' <jm@usffc.org>
Subject: FW:       Espejo ‐ CBCC‐      1385

Andy,

Please look into it

Attached is the letter received to customer from fed loans where her monthly payment is $110 and change , However
what we told customer is $50‐$55 + MSF. Customer is very upset about it.

Please look into it and do the needful.




Thanks,
Gary
US Financial Freedom Center
500 Ygnacio Valley Road,
Suite 430, Walnut Creek, CA 94596
Direct : 925.404.8078
Tel      : 844.358.8733
Fax      : 925.271.8352




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From:             Andy@1file.org
Sent:             Friday, August 23, 2019 9:05 AM
To:               'alex@1file.org'
Subject:          FW: 1File - Compliance Issues
Attachments:      image002.png




From: Carey Howe <carey@aretefinancialfreedom.com>
Sent: Thursday, August 22, 2019 1:59 PM
To: Andy Poon <Andy@1file.org>; Anna Howe <anna@1file.org>
Subject: Fwd: 1File ‐ Compliance Issues




Carey Howe
Phone: 714‐585‐2231
1261 E Dyer Rd., Suite 100
Santa Ana, CA 92705
Carey@aretefinancialfreedom.com
www.AreteFinancial.org
www.aretefinancialfreedom.com

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Begin forwarded message:

       From: Jay Singh <js@usffc.org>
       Date: August 22, 2019 at 1:11:08 PM PDT
       To: Carey Howe <carey@aretefinancialfreedom.com>
       Subject: Fwd: 1File ‐ Compliance Issues



       ‐‐‐‐‐‐‐‐‐‐ Forwarded message ‐‐‐‐‐‐‐‐‐
       From: Jay Madan (USFFC) <jm@usffc.org>
       Date: Tue, Aug 20, 2019 at 6:32 PM

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                                   #:3258
 Subject: Re:1File ‐ Compliance Issues
 To: Jay Singh (USFFC) <js@usffc.org>
 CC: Ritesh Srivastava <rs@usffc.org>


 Hello Boss,



 Per conversation, please find below detailed email for all the issues with 1File compliances.




 Thanks,

 Jay Madan

 500 Ygnacio Valley Road,Suite 430,

 Walnut Creek,CA 94596

 Tel: 844.358.8733

 Direct: 925‐397‐4019

 Fax: 844.790.8733

 Direct ‐ Fax ‐ 925‐400‐6681




 From: Gary USFFC <gary@usffc.org>
 Sent: Tuesday, August 20, 2019 6:30 PM
 To: 'Jay Madan (USFFC)' <jm@usffc.org>
 Subject: FW: issue




 Jay,


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 We needed to bring to notice some of the operational challenges that we are facing on a regular basis
 with the compliance team. Please note that this is not a criticism but certain areas of improvement
 which will only lead to work better between the teams




          Multiple attempts to connect to Compliance team: Majority of times there is no one to take
         our calls in the compliance team. Being a vast process as ours, many a times there are scenarios
         that might need immediate attention or we want to discuss files that have been returned, but,
         the compliance team is not available. We have to call them multiple times so we can get hold of
         them. It gets quite frustrating especially when we have a client online




          Frequent change in qualifying criteria: There have been too many changes on the qualifying
         criteria and most of the times, these are not even communicated to the sales team. It’s only once
         the sale is submitted and returned when we get to know of an update. This inconsistency does
         demotivate the sales team, because there is a lot of time and effort that goes towards submitting
         a sale. In the end if the file gets returned due to a new update can be quite demotivating.




          Proof of income: As a part of the compliance process, one has to submit the proof of income.
         But in cases like client being unemployed, part time worker, uber driver or receives payments in
         cash, a self‐declaration is required, however, these are rejected by compliance team for various
         reasons.




          Unemployed verification calls: As a protocol, clients receive calls from Compliance team
         however, many times it has been observed that these calls are done with a preconceived notion.
         While fact need to be addressed and investigated by the compliance team, but being
         condescending while doing so, only leads to cancellation of file which again is a loss of revenue.




          TAT for approvals not consistent: In the recent past, there has been constant inconsistency
         when it comes to approving files. There have been days wherein as many as 30 files have been
         left in submitted status with only 4 or 5 submitted sales approved. Such inconsistent TAT with
         respect to approvals makes it quite difficult to get productivity from affiliates.




          Retrieve FSA after approval of sale: If the TAT on approval being inconsistent isn’t enough,
         the sales reps also have to retrieve the FSA months after submitting the sale. To begin with the
         FSA is verified once the sale is submitted, and the job of sales team should end there. However,
         providing the information or calling the client, every time there is a change in FSA should not be
         coming under the KRA of the sales team. There have been cases wherein the compliance team
         have paused after a few payments just because the FSA was changed by the client. Pausing the
         payments is a revenue loss for all of us. Then again it becomes a cat and mouse game wherein
         the client has to be called in order to retrieve the FSA.

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            Files cancelled without a chance to retain: we understand that client do have a change of
           heart, however, many a times, the compliance team cancels the file without even giving us a
           chance to retain the client. The refund is initiated and thus it become an uphill task to convince
           the client to continue. As mentioned above, there is a lot of work that goes behind every sale,
           losing it without a chance to save it can be quite disheartening.




               Payments not posted on time: Another matter of concern is that the payments are not
           getting posted on time. We are informed that the payments are posted on hourly slots, it
           becomes quite a concern when request sent doesn’t get processed for over 2 hours. Please note
           that there is a constant follow up that goes behind a reschedule of a payment, but if the same
           doesn’t get posted, brings the morale down of the whole team.




               DNH issues: This issue has been contributing towards majority of our worries recently.
           Payments going NSF due to merchant issues has been on the rise. In fact the DNH ratio has been
           on the rise and almost contributing 60‐70% of NSF. Of course the reschedule team calls on these
           client and the client also diligently try and authorize the transactions, but many a times comes
           back as DNH with the banks informing the client that these are fraudulent transactions. Such an
           information from the bank puts a seed of doubt in the client’s mind and these have led to
           cancellations. In the end it effects the overall revenue as a cancelled client is a lost opportunity.




 Thanks,

 Gary

 US Financial Freedom Center

 500 Ygnacio Valley Road,

 Suite 430, Walnut Creek, CA 94596

 Direct    : 925.404.8078

 Tel       : 844.358.8733

 Fax       : 925.271.8352




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          Federal Trade Commission v. American Financial Support Services, Inc., et al.
                        Receivership Initial Accounting Records Review
                                   Lisa Jones, CIRA, CFE
                                      November 14, 2019

         On November 6, 2019, I, along with other members of the Receiver’s team, gained access
 to the office of Arete Financial Group (“Arete”), located on East Dyer Road in Santa Ana,
 California. On the same day, I gained access to the online QuickBooks records for Arete
 Financial and on November 7, 2019, I gained access to the online QuickBooks records for
 1File.org (“1File”), which I refer to collectively here as the “Receivership Defendants”. The
 Receivership Defendants had a separate online QuickBooks file for each of these two entities.
 We have only a portion of the bank statements from the financial institutions for Arete and 1File.
 Below is my preliminary analysis of the Receivership Defendants’ financial records.

         I have not spoken with any accounting personnel nor was I able to locate an office space
 that appeared to be dedicated to the accounting function. Based on the defendants’ email
 communication, it appears that the accounting function may have been outsourced to a
 contractor, who worked with the defendants until March 2019. Based on my initial review of the
 QuickBooks files, it appears that few transactions have been entered in 2019.

        I understand that a customer relationship management (“CRM”) software, Debt Pay Pro,
 was used by the Receivership Defendants. The revenue generated by the student loan debt relief
 services, along with the revenue generated from the defendants’ debt settlement services, is
 compiled in the CRM software. The Receivership Defendants used WorldPay, a merchant
 processor, to process the customer payments. The Receivership Defendants used Debt Pay
 Gateway, an independent account management service, for its debt settlement customer
 payments.

          Consumers were charged a fee by the defendants for student loan debt relief services,
 which fees could be paid by the consumer over a period of months. There is no indication that
 the fees were placed into an escrow account until a service was provided by the defendants to the
 consumers. After paying the initial fees, the consumers would then pay a set amount each month
 for “maintenance fees”. It appears that the maintenance fees were to be collected monthly for
 the life of the loan. Per the defendants’ email communications, the sales of student loan debt
 relief services stopped in late July, 2019; however, recertification processing and the collection
 of the “maintenance fees” has continued.

       Although there appear to be several entities related to Arete, I only have access to the
 QuickBooks files for two entities, Arete and 1File.

     1.   Arete Financial Group d/b/a Arete Financial Freedom

        Per the QuickBooks records, there are four bank accounts associated with Arete. All
 bank accounts are with Bank of America.

       The first transactions in QuickBooks were two deposits totaling $500.00 recorded on
 March 6, 2017. Each deposit was recorded as an “owner’s investment”. Deposits recorded in

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 QuickBooks consist, largely, of income from WorldPay, a merchant processor, and Debt Pay
 Gateway, an independent account management service. It appears that customer payments are
 routed directly to Debt Pay Gateway, then forwarded to Arete’s bank account. The first deposits
 by Debt Pay Gateway occurred in September 2017.

         In addition to the March 2017 “owner’s investment” deposits, there were additional
 deposits recorded through October 2017, and each deposit was recorded as an “owner’s
 investment”. In 2017, each of the five owners was credited with an investment of $140,000.
 There were deposits recorded in 2018, bringing the “Partner Contributions” to $150,000 per
 owner. Per the Balance Sheet for the date ending November 6, 2019, “Partner Contributions”
 total $750,000 and “Partner Distributions” total $105,000.

        The last deposit was recorded in QuickBooks on January 10, 2019. There have been over
 nine months of deposits into the bank accounts that have not been recorded in QuickBooks;
 therefore, the income of Arete will be understated in QuickBooks.

         The latest entry in QuickBooks was recorded on November 6, 2019 and recorded the
 purchase of monitors. There were only seven entries, all recording expenses, in October 2019.
 There were only five entries in September 2019, one of which was a journal entry recording
 payroll expenses. There are no rent expenses recorded in 2019 and there is only one recorded
 payment to a telecommunication company in 2019. The expenses, like the income of Arete, will
 be understated in QuickBooks.

         From March 6, 2017 through November 6, 2019, income reported by Arete, per
 QuickBooks, totaled $12,629,618, while expenses totaled $16,505,840, leaving Arete with a
 significant net loss. Among the expenses recorded were payments, described in QuickBooks as
 “Guaranteed Payments”, to other owner-controlled entities totaling $1,526,729. The payroll
 expenses totaled $5,112,503, while reported payments for “contractor labor” totaled $2,395,178.
 The advertising and promotional expenses totaled $4,662,376. The expenses listed above total
 $13,696,786.

        Arete’s income has been generated by student loan debt relief services and consumer debt
 settlement services. Based on the QuickBooks data alone, it is not possible to verify the amount
 of income derived from each of the two business models. Within QuickBooks, the income is
 categorized as, “Revenue – Gateway” and “Revenue – WorldPay”.

        Arete utilized a merchant processor, WorldPay, to process payments from consumers.
 The revenues from WorldPay, per QuickBooks, total $7,721,188. The revenue reported from the
 Debt Pay Gateway totals $4,848,144. The Profit and Loss Statement as of November 6, 2019
 includes income from Equitable Acceptance Corporation in the amount of $83,697. Arete
 maintained a bank account named, “Arete Financial Group, LLC, Settlement Fees/MSS” into
 which Equitable payouts were deposited. The bulk of the Equitable Acceptance transactions
 occurred during the last quarter of 2017, with little to no activity since that time.

       The largest advertising and marketing vendors, along with amounts reportedly paid, were
 In*Synergy Direct ($901,692), Dx Media Direct ($853,289), and Pub Club Leads ($699,955).



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 Another vendor, Five Marketing Group, was reportedly paid a total of $581,442; however, it
 appears that the expenses related to Five Marketing are overstated.

         On November 6, 2018, there was a $50,000 payment recorded as an expense paid to Five
 Marketing. Per the bank statement, this transaction was actually a transfer to Indigo European
 Motorcars. On November 15, 2018, there was another expense in the amount of $8,000
 attributed to Five Marketing. Per the bank statement, these funds were transferred to Premier
 Solutions Servicing. It appears that, based on the transaction descriptions in QuickBooks, the
 payments made to Five Marketing actually total about $112,997.

         Further investigation and review of the bank statements is necessary in order to determine
 the actual amounts paid to vendors and to other parties. Additionally, large payments were made
 to American Express, which statements will have to be reviewed in order to determine the extent
 of personal spending versus business spending.

          Attached as Exhibit A is the Arete Financial Profit and Loss Statement and Balance Sheet
 for all dates.

     2. 1File.org

        Per the QuickBooks records, there are nine bank accounts for 1File. The bank accounts
 appear to be in the name of La Casa Bonita Investments, LLC (“La Casa Bonita”). Per the
 Balance Sheet, the balance of the bank accounts is a negative $216,074.

        The first entry in QuickBooks was recorded on July 14, 2014, described as “opening
 balance from bank” in the amount of $1,695.59. The last entry was recorded on November 8,
 2019, described as a tax payment.

        The last deposit recorded in QuickBooks was dated December 31, 2018. There were no
 deposits recorded in 2019; however, there were expenses recorded until November 8, 2019.

         Per the QuickBooks records, the total income reported for 1File is $24,303,904, and gross
 profit totals $23,614,469. The income reported in QuickBooks consists, predominately, of
 deposits from WorldPay, a merchant processor. The expenses total $23,830,604 generating a net
 loss of $259,316. Based on the transactions listed on the bank statements, the QuickBooks
 records appear to be incomplete.

         The income reported on the 1File Profit and Loss Statement is categorized as
 “Service/Fee Income”, and is further broken down into four categories: 1 File, Act 2021, Branch
 1, and PSS. It appears that PSS refers to Premier Solutions Servicing. The income reported for
 each of the 4 categories is listed in the chart below.




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                                        1FILE.ORG
                                         Total Sales
         Category                          Period          Income Reported
         Sales                      07/14/14 - 12/31/15         4,401,220.00
         1 File                     01/04/16 - 12/31/18        11,594,417.85
         Acct 2021                  02/17/16 - 04/29/16             1,076.09
         Branch 1                   02/18/16 - 12/31/18         3,242,996.18
         PSS                        01/04/16 - 12/31/18         5,832,557.69
                      Total Sales                              25,072,267.81

          While the total sales exceed $25,000,000, the total affiliate payouts are $18,289,024. The
 affiliate receiving the highest payout is US Financial Freedom Center, Inc. (“USFFC”), with
 reported payments to “Affiliate Payout-USFFC” totaling $9,619,814. While reviewing the
 reported payments to “Affiliate Payout – LOC”, I found payments that, per the bank statements,
 were wired to USFFC; therefore, it appears that the total payouts under the “Affiliate Payout-
 USFFC” account may be understated. In the month of March, 2017, there were also three
 payments, each recorded as an “Affiliate Payout”, that were actually wired to Platinum Auto
 Group.

          It appears that 1File processed payments through WorldPay on behalf of US Financial
 Freedom Center (“USFFC”). A spreadsheet named, “USFFC – Payout - 2018”, found on a
 computer of the one of the defendants, lists funds collected from consumers and the fees charged
 by 1File to process those funds. The spreadsheet appears to include two categories: one
 category for collection from customers of initial fees and a second category for collection from
 customers of monthly fees. It appears that for the collection of initial fees, 1File charged USFFC
 a flat fee of either $65 or $115 for collection of the first payment, and $50 for the collection of
 the second payment. 1File also charged USFFC fees for the collection of, what appear to be,
 monthly service fees paid by the customers. 1File charged a 33% fee to USFFC for each
 monthly payment received from the customer. It appears that 1File charged 100% of the
 monthly fee during the month when the recertification is filed.

         Per the spreadsheet, calculations were performed weekly to determine the total fees
 collected from the customers. The fees charged by 1File were deducted from the total, along
 with 5.25% of the total amount collected to cover the merchant processing fees incurred by
 1File. The balance would then be wired, on an almost weekly basis, from 1File’s La Case Bonita
 bank account to US Financial Freedom Center.

         Similar services were performed for other companies. Based on the September 2018
 calculations, 1File collected approximately $298,900 from USFFC customers and wired funds in
 the amount of $191,000 to USFFC, keeping about $107,900, approximately 36% of the total
 collected, for their fees. Per the spreadsheet, the customer payments cleared within one week
 prior to the transfer of the net funds to USFFC. It appears that the funds collected from
 customers were deposited into 1File’s La Casa Bonita bank account, and funds were wired out to
 USFFC from that same bank account.


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        The same pattern of deposits and withdrawals appears in another of 1File’s La Casa
 Bonita bank accounts. For example, in September and October 2018, there are numerous
 deposits from WorldPay, and there are almost weekly outgoing wires to Premier Solutions
 Servicing. The outgoing wires to Premier Solutions Servicing are the largest withdrawals from
 the account.

        1File’s largest expense was for affiliate payouts, in the amount of $17,976,598. Their
 second largest expense was for payroll, in the amount of $1,501,973, followed by advertising
 expenses in the amount of $852,566. Most of the advertising expenses were incurred in 2015
 through 2016.

     3. Bank Statement Analysis

          A review of the Bank of America bank statements for Arete (bank account number
 ending x9334) for the period January 1, 2019 through May 31, 2019, identifies transfers to the
 Arete bank account ending x9321, which is the same account into which the student loan debt
 relief income is also deposited via the WorldPay merchant processor. Transfers for this five-
 month period in 2019 total $3,931,640.

        A review of the Bank of America bank statements for Arete (bank account number
 ending x9321) for the period March 14, 2018 through May 31, 2019, identifies transfers to the
 defendants, entities controlled by the defendants, and related entities. Below is a chart
 summarizing the transfers for this period.

                                                     Arete Financial Group
                                     Transfers from Bank of America account ending x9321
                                         Period March 4, 2018 through May 31, 2019
        Transfers from Arete Financial Group to the following:
        AZ Marketing and Management Group               $      65,100.00
        Carey Howe                                      $    617,363.00
        Diamond Choice, Inc.                            $    497,640.00
        Loc Phu                                         $    532,860.00
        Premier Solutions Servicing                     $    276,585.00
        Ruddy Palacios                                  $    258,775.00
        Shunmin Hsu (American Express )*                $ 3,014,239.00
        Student Loan Pro                                $    512,820.00
        Summit Holding Group                            $    451,669.00
        *Payments were made to American Express, indicating the individual name of Shunmin Hsu, per the bank statements.
         The payments often occurred on the same day and in similar amounts as those tranferred to other defendants.
         Review of the American Express statements has not been completed.



         In addition to the amounts transferred shown in the chart above, there were additional
 transfers discovered. Per email communication discovered on the computer of one of the
 defendants, funds were transferred during the month of October 2019 from Arete to several
 defendants and defendant controlled entities. The defendant and amount transferred is listed
 below.

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              AZ Marketing and Management Group           $210,000
              Diamond Choice, Inc./Ruddy Palacios         $205,945
              Fusion Graphics                             $300,000
              Loc Phu                                     $140,000
              Summit Holding Group                        $193,945
 It appears that Fusion Graphics is controlled by Carey Howe.

         A review of the Bank of America bank statements for 1File’s La Casa Bonita bank
 account, for the period January 1, 2018 through May 31, 2019, identifies transfers to defendants
 and to entities controlled by the defendants. Below is a chart summarizing the transfers for this
 period.

                                                    1File
                        Transfers from La Casa Bonita Investments, LLC to Defendants
                             Bank of America, Account ending x8770 and x5674
                            For the Period January 1, 2018 through May 31, 2019
                    Transfers to Cary Howe and Howe Family Trust         $ 473,382.00
                    Transfers to MJ Wealth Solutions, LLC                $ 846,099.00
                     Total transfers to Defendants                       $ 1,319,481.00



         During the period March 28, 2017 through January 16, 2018, there were transfers from
 1File’s La Casa Bonita bank account to Arete’s bank account totaling $150,909. During the
 same period and through the same bank accounts, Arete transferred $50,000 to 1File.

     4. Defendant Controlled and Related Entities

         Below is a chart listing the entities and the names of the individuals associated with those
 entities.

             Entity                                      Individual
             AZ Marketing and Management Group           Syed F. Gilani
             Diamond Choice, Inc.                        Ruddy Palacios
             MJ Wealth Consulting, LLC                   Shunmin Hsu
             Premier Solutions Servicing                 J&L Enterprise, LLC/Oliver Pomazi/Loc Phu
             Student Loan Pro                            Judith Noh
             Summit Holding Group                        Shunmin Hsu

     5. Summary

        Funds from WorldPay have been deposited into 1File’s La Casa Bonita bank account and
 into Arete’s bank account ending x9321. It appears that WorldPay is the merchant processor
 used for the student loan debt relief payments. Funds from Debt Pay Gateway, which appear to

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 be funds collected from debt settlement customers, have been deposited into Arete’s bank
 account ending x9334, much of which are subsequently transferred to Arete’s bank account
 ending x9321. It appears that funds derived from debt settlement services ultimately reside in
 the same bank account as funds derived from student loan debt relief services. There are
 expenses paid from the Arete bank account ending x9321; however, it is unclear which expenses
 are related to student loan debt relief services and which are related to debt settlement services.
 There were also transfers to defendants and defendant controlled entities from Arete’s bank
 account x9321, which contains funds from both debt settlement and student loan debt relief
 service.

        Further investigation and analysis is required to verify the income generated by student
 loan debt relief versus debt settlement services. Additionally, further analysis of the financial
 statements is required in order to clarify the expenditures of each entity, as it appears that
 expenses were not accurately recorded.




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                       Exhibit A




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                                      Arete#:3270
                                             Financial
                                                       PROFIT AND LOSS
                                                              All Dates


                                                                                                             TOTAL
Income
 Charge Back - World Pay                                                                              -137,041.35
 Other Revenue - Miscellaneous                                                                         111,786.91
 Revenues - Equitable Accepatnce                                                                           83,697.16
 Revenues - Gateway                                                                                  4,848,144.13
 Revenues - Worldpay                                                                                 7,721,187.63
 Sales of Product Income                                                                                    1,843.87
Total Income                                                                                       $12,629,618.35
GROSS PROFIT                                                                                       $12,629,618.35
Expenses
 Accounting                                                                                                27,500.00
  Intuit Accounting Fee                                                                                      328.63
 Total Accounting                                                                                          27,828.63
 Advance                                                                                                   -1,707.19
 Advertising/Promotional                                                                                    3,688.38
  Advertising & Marketing-Groupon                                                                            100.20
  Advertising - Data Leads                                                                                  5,863.16
  Advertising - Direct Mail                                                                                82,992.00
  Advertising - Godady                                                                                      1,219.08
  Advertising - Hello Conversion                                                                            9,000.00
  Advertising - IGrant                                                                                 195,220.00
  Advertising - Mailers                                                                                357,407.76
  Advertising - WGW Inc.                                                                                   61,000.00
  Advertising - Ziprecruter                                                                                 3,456.00
  Advertising -Powers Marketing Group                                                                      51,600.00
  Advertising -Trans Union                                                                                 50,022.20
  Advertising _ In*Synergy Direct                                                                      901,691.89
  Advertising-Debt Pay Inc                                                                                 74,701.04
  Advertising-Face Book                                                                                    38,556.60
  Advertising-Five Marketing Group                                                                     581,441.51
  Advertising-Idea Engine Marketing                                                                    188,950.61
  Advertising-Media Direct                                                                           1,032,952.73
  Contractors-Darla Telles                                                                                  8,014.82
  Total Advertising-Media Direct                                                                     1,040,967.55
  Advertising-Pub Club Leads                                                                           699,954.78
  Advertising-Stratistic Network                                                                            4,844.67
  Advetising - Maksys LLC                                                                              238,359.33
  Contractors-Andrew Mestas                                                                                 5,464.95
  Intellectual Inc                                                                                          2,250.00
  Total Advetising - Maksys LLC                                                                        246,074.28
  Conventions                                                                                               5,909.00
  Craigslist                                                                                                3,395.00
  Live Calls Media                                                                                         14,320.46


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                                          #:3271                                                             TOTAL
Seafront Marketing                                                                                        40,000.00
Total Advertising/Promotional                                                                       4,662,376.17
Affiliate Payout - Premier Solutions                                                                  133,954.48
Auto Expense                                                                                                  29.20
Bank Charges & Fees                                                                                        9,499.45
Gateway                                                                                                   43,570.29
Worldpay                                                                                                  36,293.50
Total Bank Charges & Fees                                                                                 89,363.24
Car & Truck                                                                                                3,499.60
Commssions Payment                                                                                        55,175.85
Contract Labor                                                                                      2,395,178.02
Asaya Consulting Group                                                                                    12,500.00
Contractors - Abuhamda                                                                                     4,500.00
Total Contract Labor                                                                                2,412,178.02
Contractors-Adrian Perez                                                                                  10,600.00
Contractors-Jerry Tor                                                                                      8,544.00
Credit Reporting                                                                                           4,932.00
Credit Reporting - SVC                                                                                    49,195.25
Credit Reporting- Equinox                                                                                  5,310.60
Total Credit Reporting                                                                                    59,437.85
Dues and Membership                                                                                        5,744.39
Employee Benefits                                                                                            200.00
Equipment Lease Pmt- Enverto                                                                               9,177.60
Equitable                                                                                                    196.00
Fuel Expenses                                                                                                685.23
Gifts / Incentives                                                                                        18,986.39
Guaranteed Payments
Guaranteed Pmt - Summit Holding Group                                                                 272,599.41
Guaranteed Pmt- Diamond Choice                                                                        258,263.00
Guaranteed Pmt-Fusion Graphic                                                                         302,545.44
Guaranteed Pmt-Premier Solutions                                                                      276,056.51
Guaranteed Pmt-Student Loan Pro                                                                       417,264.20
Total Guaranteed Payments                                                                           1,526,728.56
Health Insurance                                                                                          -34,330.87
Insurance                                                                                                 36,243.04
Interest Paid                                                                                             22,960.75
Invoice Billing                                                                                           26,506.58
Job Supplies                                                                                               3,237.33
Legal & Professional Services                                                                         156,130.82
Legal Network                                                                                              6,075.00
Square Cap Finacial Solutions                                                                             40,891.65
United Advocates Inc                                                                                      14,312.73
Total Legal & Professional Services                                                                   217,410.20
Meals & Entertainment                                                                                     93,460.83
Employees Luncheon                                                                                        14,425.34
Total Meals & Entertainment                                                                           107,886.17
Office Supplies                                                                                           23,943.86
Computers                                                                                                 37,940.00
Office Supplies & Software                                                                                93,462.12


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                                          #:3272                                                           TOTAL
Office Supplies- Coffee Room                                                                              2,730.57
Total Office Supplies                                                                                158,076.55
Operational                                                                                               2,939.20
Other Business Expenses                                                                                  17,908.28
Outside Services                                                                                         24,638.23
Employment Ads                                                                                            1,053.50
Outside Services - Credit Reporting                                                                      38,901.66
Outside Services - Restoration Hardware                                                                   3,782.46
Outside Services-Shered It                                                                                1,167.78
Total Outside Services                                                                                   69,543.63
Payroll Expenses
Bonus                                                                                                       50.00
Bonus - 200                                                                                                160.00
Bonus - 300                                                                                                400.00
Bonus - 301                                                                                              33,825.00
Bonus - 400                                                                                              19,746.81
Bonus - 425                                                                                               2,100.00
Bonus - 450                                                                                              19,876.20
Bonus - 475                                                                                               3,700.00
Bonus - 804                                                                                              13,881.50
Comm - 300                                                                                                6,015.00
Comm - 301                                                                                           414,690.23
Comm - 400                                                                                           689,461.80
Comm - 425                                                                                                 569.80
Comm - 450                                                                                         1,494,606.84
Comm - 475                                                                                                 180.00
Comm - 804                                                                                               18,984.42
Draw - 301                                                                                           101,860.75
Draw - 400                                                                                           221,332.30
Draw - 450                                                                                           534,905.27
Draw - 804                                                                                               18,664.34
Garnishment                                                                                              -1,607.09
Holiday                                                                                                  17,796.00
Misc - 804                                                                                                 -600.00
Misc - Key Fob                                                                                           -5,114.35
OT Prem - 301                                                                                             9,296.38
OT Prem - 400                                                                                            30,639.56
OT Prem - 450                                                                                            73,060.00
OT Prem - 804                                                                                               70.60
Overtime - 200                                                                                            3,736.85
Overtime - 300                                                                                            7,351.10
Overtime - 301                                                                                            2,950.59
Overtime - 400                                                                                              10.40
Overtime - 425                                                                                           28,591.52
Overtime - 450                                                                                             539.94
Overtime - 475                                                                                            6,723.78
Overtime - 600                                                                                            1,802.51
Overtime - 804                                                                                           10,506.77
Regular - 200                                                                                            29,668.85
Regular - 300                                                                                        166,674.44


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                                              #:3273                                                 TOTAL
  Regular - 301                                                                                    42,237.74
  Regular - 400                                                                                     2,439.32
  Regular - 425                                                                                337,254.29
  Regular - 450                                                                                    13,763.87
  Regular - 475                                                                                237,783.68
  Regular - 500                                                                                    12,944.20
  Regular - 600                                                                                    65,130.52
  Regular - 804                                                                                248,415.22
  Salary                                                                                            2,500.00
  Salary - 301                                                                                     18,617.64
  Salary - 450                                                                                     46,200.00
  Salary - 475                                                                                     98,108.74
  Salary - 500                                                                                     10,000.00
 Total Payroll Expenses                                                                      5,112,503.33
 Payroll Processing Expenses                                                                       10,996.37
 Payroll Taxes                                                                                 749,305.57
 Postage & Freight                                                                                  2,626.03
 Rent & Lease                                                                                  205,267.23
 Repairs & Maintenance                                                                             39,530.19
 Resue One Lending                                                                                 54,387.13
 Salaries & Wages                                                                              240,806.29
 Taxes & Licenses                                                                                  23,030.88
 Telephone                                                                                         45,786.59
  Telephone - AT&T                                                                                 35,374.92
  Telephone - Ring Central                                                                          5,741.65
  Telephone - Y Tell                                                                           176,369.30
  Telephone-Shoretell                                                                          100,524.28
 Total Telephone                                                                               363,796.74
 TPV Recordings                                                                                      356.45
 Training                                                                                            625.00
 Travel                                                                                            41,626.95
 Uncategorized Expense                                                                              2,874.24
 Utilities                                                                                          5,214.32
 Workers Comp                                                                                       1,514.04
Total Expenses                                                                             $16,505,839.64
NET OPERATING INCOME                                                                       $ -3,876,221.29
Other Expenses
 Other Miscellaneous Expense                                                                        2,114.36
 Reconciliation Discrepancies                                                                      24,051.63
Total Other Expenses                                                                           $26,165.99
NET OTHER INCOME                                                                              $ -26,165.99
NET INCOME                                                                                 $ -3,902,387.28




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                                      Arete#:3274
                                             Financial
                                               BALANCE SHEET
                                                     All Dates


                                                                                                     TOTAL
ASSETS
 Current Assets
 Bank Accounts
  Business Advantage 9334                                                                         -20,730.45
  Business Checking(9321)                                                                     361,585.49
  Business Payroll (9768)                                                                         54,604.64
  EquitablexAffiliates 9917                                                                           13.00
 Total Bank Accounts                                                                         $395,472.68
 Other Current Assets
  Employee Cash Advances                                                                            -516.52
 Total Other Current Assets                                                                        $ -516.52
 Total Current Assets                                                                        $394,956.16
 Fixed Assets
 Furniture & Fixtures                                                                         108,117.17
  Cubicals                                                                                        58,631.00
  Furniture                                                                                       23,828.00
 Total Furniture & Fixtures                                                                   190,576.17
 Leasehold Improvement                                                                            11,398.60
  Wiring Computer, Telephone                                                                      17,632.00
 Total Leasehold Improvement                                                                      29,030.60
 Workstations
  Computers and Printers                                                                          26,004.25
  Telephone System                                                                                14,272.00
  Television                                                                                      16,775.00
 Total Workstations                                                                               57,051.25
 Total Fixed Assets                                                                          $276,658.02
 Other Assets
 Deposits - Rent                                                                                  17,625.85
 Total Other Assets                                                                           $17,625.85
TOTAL ASSETS                                                                                 $689,240.03

LIABILITIES AND EQUITY
 Liabilities
 Current Liabilities
  Credit Cards
   Arete Amex Platinum                                                                            51,768.09
   Capital One Sparks Cash                                                                           293.30
   Chase Mike - 2190                                                                              -24,731.23
   Chase Rudy - 4137                                                                              12,517.83
  Total Credit Cards                                                                          $39,847.99
  Other Current Liabilities
   La Casa Bonita Inv                                                                              4,824.00
   Payroll Clearing Account                                                                 4,324,953.65


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                                             #:3275                                                           TOTAL
   Payroll Liabilities
    CA PIT / SDI                                                                                                0.00
    CA SUI / ETT                                                                                                0.00
    Federal Taxes (941/944)                                                                           -309,931.93
    Federal Unemployment (940)                                                                                  0.00
   Total Payroll Liabilities                                                                          -309,931.93
  Total Other Current Liabilities                                                                   $4,019,845.72
 Total Current Liabilities                                                                          $4,059,693.71
 Long-Term Liabilities
  Notes Payable - Enverto                                                                                   -8,975.60
 Total Long-Term Liabilities                                                                           $ -8,975.60
 Total Liabilities                                                                                  $4,050,718.11
 Equity
 Opening Balance Equity                                                                               -104,070.80
 Owner's Investment                                                                                             0.00
 Owner's Pay & Personal Expenses                                                                               -20.00
 Partner Contributions
  Partner Contributions - Carey Howe                                                                   150,000.00
  Partner Contributions - Diamond Choice LLC                                                           150,000.00
  Partner Contributions - Judith Noh                                                                   150,000.00
  Partner Contributions - Loc Phu                                                                      150,000.00
  Partner Contributions - Shunmin Hsu                                                                  150,000.00
 Total Partner Contributions                                                                           750,000.00
 Partner Distributions
  Partner Distributions - Carey Howe                                                                       -15,000.00
  Partner Distributions - Diamond Choice LLC                                                               -65,000.00
  Partner Distributions - Judith Noh                                                                       -10,000.00
  Partner Distributions - Shunmin Hsu                                                                      -15,000.00
 Total Partner Distributions                                                                          -105,000.00
 Retained Earnings
 Net Income                                                                                          -3,902,387.28
 Total Equity                                                                                      $ -3,361,478.08
TOTAL LIABILITIES AND EQUITY                                                                          $689,240.03




                                                                                              EXHIBIT 27
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                       Exhibit B




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  789:;6ÿ=93>?ÿ7=ÿ@6AB2CÿDÿEÿFGH6                                                                  DIJKLKEIMNK
  789:;6ÿ=93>?ÿ7=ÿ@6AB2CÿDÿOPP                                                                      DKJLQERMSI
  789:;6ÿ=93>?@6AB2CÿDÿ=:9238ÿE                                                                     DISLNTJMNS
  U:4VVÿ@636GWXV                                                                                   DJNILSKTMTK
  P9H6V                                                                                           TLTRELJJRMRR
  P6:YG36?F66ÿ123456ÿEÿFGH6                                                                      EELNSTLTEKMZN
  P6:YG36?F66ÿ123456ÿ/3XÿJRJE                                                                         ELRKQMRS
  P6:YG36?F66ÿ123456ÿ=:9238ÿE                                                                     ILJTJLSSQMEZ
  P6:YG36?F66ÿ123456ÿOPP                                                                          NLZIJLNNKMQS
 P6:YG36V                                                                                                  DENNMIT
 [29WWHG6Cÿ79V8ÿO9\562Xÿ123456                                                                          DKNLQRSMRR
 [239X6;4:G]6Cÿ123456DE                                                                                   ELJTJMNR
74VXÿ4AÿU44CVÿP4HC
 PB^342X:93X4:VÿDÿ7.P                                                                               EJRLEEEMER
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 PB^3342X:93X4:VÿDÿPX6Y6ÿU42]9H6V                                                                    EILZESMTK
 PB^342X:93X4:VÿDÿ/2C\ÿO442                                                                          EKLQNIMQI
 PB^342X:93X4:VÿDÿ/BVXG2ÿb:BGX^4V38                                                                     SRRMRR
 PB^342X:93X4:VÿDÿ=:\92ÿ095                                                                          ESLSESMEI
 PB^342X:93X4:VÿDÿ79VV92C:9ÿ_6HV42                                                                    ILIRRMRR
 PB^342X:93X4:VÿDÿ7.PÿDÿ=                                                                           EZRLNTQMSR
 PB^342X:93X4:VÿDÿU9:\ÿPX936\                                                                         ZLERSMQR
 PB^342X:93X4:VÿDÿUG29ÿO8B2;                                                                          QLZTSMRR
 PB^342X:93X4:VÿDÿc9V42ÿ/;BG::6                                                                       ELRRZMRR
 PB^342X:93X4:VÿDÿcBVXG2ÿde92;                                                                        ILJISMRR
 PB^342X:93X4:VÿDÿ̀9:>ÿb:BGX^4V38                                                                    EQLKNJMJJ
 PB^342X:93X4:VÿDÿ̀G3896Hÿ=4B:H92C                                                                      ERRMRR
 PB^342X:93X4:VÿDÿ̀G3896HÿfB                                                                         JILSRQMZI
 PB^342X:93X4:VÿDÿ̀GH6Vÿg44>                                                                            NZEMJI
 PB^342X:93X4:VÿDÿO6C:4ÿ@4VV6HH                                                                       KLTZKMTS
 PB^342X:93X4:VÿDÿ@4^6:XÿFHG22                                                                        JLQRKMNR
 PB^342X:93X4:VÿDÿP8B25G2ÿdVB                                                                       ESQLNRRMJJ
 PB^342X:93X4:VÿDÿ-849Gÿ_;B\62                                                                        ELJQEMSS
 PB^342X:93X4:VÿDÿ-G5ÿ=66^6                                                                          ERLETEMQN
 PB^342X:93X4:VÿDÿ-42\ÿ7862                                                                           ELSZRMSQ
 PB^342X:93X4:VÿDÿ-B42;ÿ_;B\62                                                                       JZLKTIMZK
 PB^342X:93X4:VÿDÿh9::62ÿ0\                                                                             ZSRMRR
 PB^342X:93X4:VÿDÿi6VV62G9ÿ/HY9:6]                                                                    SLEJJMRJ
 PB^342X:93X4:VDÿ78Gÿ-:B42;                                                                          EILNRIMET


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 #223405607ÿ,-./01/1                                                                                     89:;<;=;;
 #>?/@561607                                                                                            AB9:CC9=B9
  #>?/@561607ÿDÿEFG>                                                                                     HH:9I;=HB
  #>?/@561607ÿDÿJ/K5ÿ)GLÿ+02                                                                             HC:I;;=;;
  #>?/@561607ÿDÿJ&                                                                                       C8:9IA=HB
  #>?/@561607ÿDÿ*G2/K33M                                                                                    9B;=BN
  #>?/@561607ÿDÿO/L%3!3                                                                                  9A:8HI=BN
  #>?/@561607ÿDÿ$&%                                                                                      8B:8;I=;;
  #>?/@561607ÿDÿ)F6P6..60/1ÿEGPPÿE/05/@                                                                  <H:H9N=;;
  #>?/@561607ÿDÿ)QRE$QR                                                                                 A8A:99B=C9
  #>?/@561607ÿDÿ'5/.F/0ÿS3@@61                                                                            <:<<;=;;
  #>?/@561607ÿDÿT%TÿE3                                                                                   A;:;;;=;;
  #>?/@561607DÿE@G67ÿ$615                                                                                   A9;=;;
  UV#V                                                                                                    B:I;;=;;
 #>?/@561607W)@3X35630GP                                                                                 CB:BNH=A;
 #YY6P6G5/ÿ)GL345                                                                                       8A9:BNI=H9
 #YY6P6G5/ÿ)GL345ÿDÿR@G02FÿB                                                                             IA:B8I=8B
 #YY6P6G5/ÿ)GL345ÿDÿ*6@15ÿ*/>/@GPÿ$3G0                                                                   8<:;;;=;;
 #YY6P6G5/ÿ)GL345ÿDÿ$"E                                                                               B:N98:INB=<B
 #YY6P6G5/ÿ)GL345ÿDÿZ[ÿT/GP5F                                                                         A:89<:BI9=CI
 #YY6P6G5/ÿ)GL345ÿDÿ'54>/05ÿ$3G0ÿ#>?32G5/                                                                 8:<C;=<9
 #YY6P6G5/ÿ)GL345ÿDÿQ'**E                                                                             N:<8N:98I=AI
 #YY6P6G5/ÿ)GL345ÿDÿ*6@15ÿ*/>/@GPÿ$3G0                                                                    B:B<I=IA
 #YY6P6G5/ÿ)GL345ÿD'J'                                                                                  C;<:9<8=H;
 #@5ÿE3014P5G56301                                                                                        A:B;;=;;
 #453ÿ$/G1/ÿ,-./01/1                                                                                     A9:<9B=;H
 RG0MÿEFG@7/1                                                                                            8B:9H<=BI
 %#!,T#U                                                                                                 H<:N<C=<8
 T6@/ÿ!@G01Y/@ÿ*//1                                                                                      <;:BC;=H;
 T3@P>.GL                                                                                               8NH:NNB=8<
 E3XX6116301ÿ\ÿY//1                                                                                       B:A9<=A8
 E3014P5607ÿ'/@?62/1ÿDÿRO                                                                               8B<:;;;=;;
 E3014P5607D&335ÿ'26/02/1                                                                                IH:;;;=;;
 E305@G25ÿ)@32/11607                                                                                    IIH:I8H=BI
 J30G5630                                                                                                 C:I9C=9H
 J4/1ÿ\ÿ'4K12@6.56301                                                                                     A:NIB=9H
 J4/1ÿ\ÿ'4K12@6.56301Dÿ'#'                                                                              8HN:N;I=HI
 *@/67F5ÿ\ÿJ/P6?/@L                                                                                          NA=AH
 %4G@G05//>ÿ)X5                                                                                             H<I=9<
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                                           #:3285



From:                        Loc Phu <loc@aretefinancialfreedom.com>
Sent:                        Thursday, March 14, 2019 6:39 PM
To:                          slprocessing@aretefinancialfreedom.com
Subject:                     reviews on BBB




Everyone,

Why is the debt department doing better than the
sl department as far as reviews. We are getting a
complaint every single day. I need everyone to get
on the phone with all clients and get us good
reviews and make the clients feel safe about our
company asap. We are losing clients because of
our reviews. I need every single one of you to get
at least 5 bbb reviews a week. That’s 1 a day.




Loc Phu
Chief Executive Officer
Toll Free: (888) 331‐5827
Hours of Operation: 8AM – 6PM PST
loc@aretefinancialfreedom.com
www.aretefinancialfreedom.com

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                                   #:3286

  From:                   Carey Howe
  To:                     anna@1file.org
  Subject:                RE: New Note Created On File:                   HICKS - -         6470
  Date:                   Thursday, May 16, 2019 10:54:33 AM
  Attachments:            image003.png


  Refund and squash it




  Carey Howe
  ( 949-438-2877
  Toll Free: (844) 593-8072
  Direct Fax: 949-438-2877
  5772 Bolsa Avenue, Suite 220
  Huntington Beach CA 92649
  Hours of Operation: 9AM – 5PM PST
  carey@1file.org
  www.1file.org




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  PROMPTLY NOTIFY SENDER IF YOU HAVE RECEIVED THIS E-MAIL IN ERROR AND DELETE IT FROM YOUR E-MAILS. CONFIDENTIAL INFORMATION, PRIVILEGED OR
  OTHERWISE LEGALLY PROTECTED FROM UNAUTHORIZED DISCLOSURE. IF YOU ARE NOT THE INTENDED RECIPIENT, ANY DISCLOSURE, COPIES, DISTRIBUTION, OR
  ACTIONS IN RELIANCE ON THE CONTENTS OF THIS E-MAIL IS PROHIBITED. PLEASE PROMPTLY NOTIFY SENDER IF YOU HAVE RECEIVED THIS E-MAIL IN ERROR AND
  DELETE IT FROM YOUR E-MAILS.



  From: anna@1file.org <anna@1file.org>
  Sent: Thursday, May 16, 2019 9:37 AM
  To: carey@1file.org
  Subject: New Note Created On File:                                     HICKS - -             6470

  Note Type: General
  Entered By: Anna Howe
  Notified: carey@1file.org, jm@usffc.org



  CFPB Complaint:

  I received a call from this person named Jason who is and agent of onefile.org (American Financial
  Support Service) id number 5555 (18008644107) who indicated that I am able to receive a student
  loan forgiveness. Mr. Jason said that I would have to pay $200.00 for three months then after that I
  would pay $39.00 for thirty six months. So I made a payment of $199.67 on March 4th 2019 and a
  payment on April 2nd 2019. So I recently received 3 letters from Fed Loans as of April 10th 2019
  stating that my monthly payments are at a $0.00 balance due to my income. Then I called Fed Loan
  and an agent named Leann id number 600030 (18006992908) from Fed Loan told me to cancel that
  because the other company is just taking money form me due to that my balance is at zero balance.
  So Ms. Leann told me to call Federal Trade Commission debt relief to make a complaint to receive
  my payment back. I got the number to the CFPB to file a complaint.


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                                    #:3287
                Better Business Bureau

                1010 E Missouri Ave.
                Phoenix AZ 85014-4585
                877-291-6222




Case #: 13952016

Sent to Business on: 11/08/2019

Business Info:                                Consumer Info:
1File.org                                     Putt,
5772 Bolsa Ave #B220
Huntington Beach, CA 92649                    Miami, FL 33176
(844) 593-8072                                       7686
                                                            @gmail.com


Nature of the Complaint: Product Issues

Consumer’s Original Complaint:
Last year I received a call from 1file.org claiming that could lower the amount I would owe
to Federal Loans. They were basically the middle man making payments to the federal
loans on my behalf. I would need to make four payments of $149.75 and after that in a
monthly basics $30.00. I found out from the Federal loans that I have not made any
payments in over a year and the amount that I owe because of interest has gone up. I
have reached out to 1file.org and have not been able to cancel their services. I have left
two messages and emailed them. I am still waiting for a response. I want a full refund as
they did not provide their service as I was told over the phone. monthly basis

Consumer’s Desired Resolution:
I want a full refund so that I can pay the federal loans the money I would paid to them.




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                                    #:3288
                Better Business Bureau

                1010 E Missouri Ave.
                Phoenix AZ 85014-4585
                877-291-6222




Case #: 13949430

Sent to Business on: 11/07/2019

Business Info:                                Consumer Info:
1File.org                                     Long,
5772 Bolsa Ave #B220
Huntington Beach, CA 92649                    Bolingbrook, IL 60440
(844) 593-8072                                       9464
                                                             @gmail.com


Nature of the Complaint: Delivery Issues

Consumer’s Original Complaint:
I was told that after two payments of 299.50 that the entire balance of my student loans
would be forgiven, (the second one was made on 10/01/19) I have given the company
over a month to get this done and it has not been done. I am now being told that this will
only be done after 20 years of payments at 29.00 per month. I was lied to and in addition
to which I have come to find out that this company is illegal in my state of Illinois. I
would like a full refund for the amount I have spent which is $628.00 as well as the
contract cancelled that I signed due to fraudulent business practices and illegally
processed in my state of Illinois.

Consumer’s Desired Resolution:
I would like a full refund for the amount that was charged to me, in three charges for a
total of $628.00




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                                    #:3289
                Better Business Bureau

                1010 E Missouri Ave.
                Phoenix AZ 85014-4585
                877-291-6222




Case #: 13939741

Sent to Business on: 11/02/2019

Business Info:                                Consumer Info:
1File.org                                     Wills,
5772 Bolsa Ave #B220
Huntington Beach, CA 92649                    Richmond, CA 94804
(844) 593-8072                                       -2504
                                                         @yahoo.com


Nature of the Complaint: Customer Service Issues

Consumer’s Original Complaint:
This business reached out to me via phone and email up until I signed a contract with
them. I had access to certain portals regarding my loans and the process. I have since
learned of them being a scam, can not log in to these said portals to view the processes
and loan docs and can not reach the customer service department or processing
department. I contacted Navient to inquire about the status of my loan. They have stated
an application has been submitted on my behalf but the future payments/interests rates
are not what was discussed with 1file.org.

Consumer’s Desired Resolution:
I would like this business to contact me and give me an explanation of what is going on. If
that is not done, a refund of the payments made to them for their "services."




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                                    #:3290
                Better Business Bureau

                1010 E Missouri Ave.
                Phoenix AZ 85014-4585
                877-291-6222




Case #: 13923333

Sent to Business on: 10/24/2019

Business Info:                                Consumer Info:
1File.org                                     Visgarda,
5772 Bolsa Ave #B220
Huntington Beach, CA 92649                    Middle River, MD 21220
(844) 593-8072                                       6726
                                                              @gmail.com


Nature of the Complaint: Billing or Collection Issues

Consumer’s Original Complaint:
Recently I completed a form for Public Service Loan Forgiveness (PSLF) and was told I
would be contacted soon regarding if I was eligible or not. 1File.org contacted me today
claiming to be a part of the PSLF stating I was eligible and would be taking over my loans.
They had information about how much I owed in loans, etc. and seemed to be legit. After
doing some research I realized they are a scam and are trying to take money from me.
They asked me for personal information, which I stupidly gave to them. I want them to
never contact me again and to discontinue attempting to take over my student loans. I
have already contacted my loan servicer and told them what happened.

Consumer’s Desired Resolution:
Discontinue taking over my student loans and apologize for lying to me saying they are a
part of the PSLF program.




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                                    #:3291
                 Better Business Bureau

                 1010 E Missouri Ave.
                 Phoenix AZ 85014-4585
                 877-291-6222




Case #: 13893554

Sent to Business on: 10/10/2019

Business Info:                                 Consumer Info:
1File.org                                      Reitenbaugh,
5772 Bolsa Ave #B220
Huntington Beach, CA 92649                     Chester Springs, PA 19425
(844) 593-8072                                        3919
                                                       @msn.com


Nature of the Complaint: Billing or Collection Issues

Consumer’s Original Complaint:
Initially I was billed a one time fee for the service and then was billed by this company
$39 a month to help reduce my student loan debt, and nothing was done at all to help
lower my debt or forgive my loan. I have been billed by them for months and nothing
was ever done by this company but take my money from me.

Consumer’s Desired Resolution:
I would like to try and recover all of the money they took from me.




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  From:          1file.org
  To:            carey@1file.org
  Date:          Tuesday, October 29, 2019 12:32:21 PM




  Name:         Steffens

  Email:                 @gmail.com

  Phone:         5327

  Message: I have been making payments since 2017 and just got word that this is a scam.
  Where exactly is my money going?




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  From:                  processing@1file.org
  To:                           McAllaster"
  Subject:               RE:       Mcallaster, Your Loan Consolidation Payment Was DECLINED!
  Date:                  Friday, September 06, 2019 2:11:22 PM


  If you have questions please call us at 844-593-8072

  From:        McAllaster
  Sent: Friday, September 06, 2019 8:57 AM
  To: processing@1file.org
  Subject: Re:      Mcallaster, Your Loan Consolidation Payment Was DECLINED!

  You did not answer my question.

  Show me documentation in regards to how and where & when you are paying off my loan.

  On Thu, Sep 5, 2019 at 3:53 PM <processing@1file.org> wrote:

    Here’s a copy of the contract you signed when you enrolled with us

    From:        McAllaster
    Sent: Wednesday, September 04, 2019 10:14 PM
    To: processing@1file.org
    Subject: Re:      Mcallaster, Your Loan Consolidation Payment Was DECLINED!

     My bank says that your company is a scam. So they’re looking into it before they will OK the
    payment. Can you provide some documentation that shows you are actually paying my student
    loan? Because I keep getting things in the mail that says you’re not   




    On Fri, Aug 30, 2019 at 10:01 AM <processing@1file.org> wrote:




       Aug 30, 2019
            Mcallaster




       Dear      ,


       RE: Consolidation Payment - DECLINED

       This email serves to inform you that your recent payment of $39.00 was returned as Response: declined (GW05, Card Sale was not
       processed. (05: Do not honor)) on Aug 30, 2019. Unfortunately, we were unsuccessful in our attempt to process your payment
       transaction. Since you might not be aware of the NSF and as a courtesy, we wanted to quickly bring this matter to your attention to


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     prevent any interruptions on your student consolidation process. To expedite resolving the payment concern and remit payment,
     please contact our billing department at 855-522-5575 between the hours of 8AM-5PM Pacific Standard Time.



     This matter is of utmost importance as it can negatively affect your consolidation process; we encourage your prompt attention.
     Please reschedule payment arrangements at your earliest opportunity.

     Thank you,

     Billing Department

     Toll Free | (844) 593-8072
     Fax | (714) 203-6810
     Hours of Operation: 8AM - 5PM PST
     processing@1file.org
     www.1file.org

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     MAILS.




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                                   #:3295

  From:            processing@1file.org
  To:                      Hoppe"
  Subject:         RE: cancellation and refund
  Date:            Tuesday, June 18, 2019 9:44:13 AM


  Okay I will submit you for a refund.
  Thank you

  From:          Hoppe <mhoppe1974@gmail.com>
  Sent: Friday, June 14, 2019 11:35 PM
  To: processing@1file.org
  Subject: cancellation and refund

  Hi,
  I did not have any word with anyone i don't need to talk to anyone i just want to cancel my Contract
  or agreement or what ever u call it. I saw your reviews at BBB i do not wish to deal with you guys
  anymore .

  I want my money back for what purpose you guys want money for I did not receive any
  documentation from you guys I received the paperwork a day before the payment is been taken
  away, you guys are scamsters I do not want to deal with u just give me my money back. I wont be
  polite next time i just want my money back I DO NOT WISH TO DEAL WITH YOU GUYS i am NOT
  SATISFIED WITH THE REVIEWS ON BBB . I WANT MY MONEY BACK AND CANCEL THE ARRANGEMENT
  .

  And what possibly is the reason you guys are not giving me my money back ($99.83). What part of
  cancel my agreement you guys did not understand . I read your reviews on BBB you guys start the
  blame game that we are just the processing team we did not enroll you and we just did the
  documentation then why the hell are you guys even replying to me or handling my file

  I asked you to cancel services the very next day when my card was charged.

  Also please check the attachment which talk about your reviews.

  Martin Hoppe




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                                           #:3296



From:                              Mulvaney              @gmail.com>
Sent:                         Tuesday, November 05, 2019 3:41 PM
To:                           PSS INFO
Subject:                      Re: Your Income Driven Repayment Plan Application


Please cancel.

On Tue, Nov 5, 2019 at 5:23 PM PSS INFO <info@premiersolutionsservicing.com> wrote:

 Hello          ,



 There must have been some misunderstanding. We did not say anything about suing you. We just told you that
 everything is stated in the contract prior to you e signing our contract. The work is done. We got you on a lower
 repayment plan, so why would you report us if we did everything in the book? We sent you paperwork to confirm
 everything is approved. If you don’t want to pay us the last enrollment fee than that’s fine, we can cancel you out and
 waive that last enrollment for you, but there is no need to report us if the work is done on your file. Thank you.




                                    Processing Department

                                    Phone: 1-888-511-2518

                                    Fax: 1-888-519-8402

                                    Direct / Fax / Text: 1-949-535-1189

                                    Mail: PO Box 26830, Santa Ana, Ca 92799




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                                         #:3297
From:       Mulvaney
Sent: Tuesday, November 05, 2019 9:42 AM
To: PSS INFO <info@premiersolutionsservicing.com>
Subject: Re: Your Income Driven Repayment Plan Application




I will not abide by the contract. If you would like to sue me over $300
come on ahead. You got $600 of my money that I didn't have to spare
you will not get more.


On Tue, Nov 5, 2019 at 11:29 AM PSS INFO <info@premiersolutionsservicing.com> wrote:

       ,



 Please read the contract. Everything is stated in there and no one took advantage of you.




                                    Processing Department

                                    Phone: 1-888-511-2518

                                    Fax: 1-888-519-8402

                                    Direct / Fax / Text: 1-949-535-1189

                                    Mail: PO Box 26830, Santa Ana, Ca 92799




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                                        #:3298
From:       Mulvaney
Sent: Monday, November 04, 2019 7:38 PM
To: PSS INFO <info@premiersolutionsservicing.com>
Subject: Re: Your Income Driven Repayment Plan Application



So you took advantage of my situation. At no time was I told that the 1st 3 months payment was a fee to you. I was
referred to you because of a financial situation that I was looking for help with. You will not get the last $300 from
me. I am going to file a complaint.



On Mon, Nov 4, 2019 at 8:47 PM PSS INFO <info@premiersolutionsservicing.com> wrote:




 It is stated in the contract that we are a third party company that submits your application on your behalf. The
 payments that you have been paying does not apply towards your loan balance, it is our enrollment fee to process
 your paperwork. Attached is your approval plan to confirm that the work has been done on your file and that you
 got approved for a repayment plan. Please be aware that you have maxed out your forbearance time for your
 account. You still owe us one last fee of $300. We also need for you to fill out the PSLF application so that your
 payments can count towards the 10 year forgiveness plan instead of the 20 year plan. If you don’t want our service
 anymore after this, than you do not need to pay us our monthly service fee of $39. That means that you are
 responsible to submit your own recertification every year until your loans get forgiven. How would you like to move
 forward?




                                     Processing Department

                                     Phone: 1-888-511-2518

                                     Fax: 1-888-519-8402

                                     Direct / Fax / Text: 1-949-535-1189

                                     Mail: PO Box 26830, Santa Ana, Ca 92799




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 us know by e-mail reply and delete it from your system; you may not copy this message or disclose its contents to anyone. Please send us by fax any message
 containing deadlines as incoming e-mails are not screened for response deadlines. The integrity and security of this message cannot be guaranteed on the Internet

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From:       Mulvaney
Sent: Monday, November 04, 2019 6:24 PM
To: PSS INFO <info@premiersolutionsservicing.com>
Subject: Re: Your Income Driven Repayment Plan Application



No payment has been made towards my student loan even though money has been withdrawn from my bank
account. This is unacceptable and I want my money back as soon as possible so I can bring my account up to date.



Please acknowledge receipt of this email as soon as possible. This is NOT what I was told when I first spoke with you.



On Wed, Oct 23, 2019 at 4:58 PM <INFO@premiersolutionsservicing.com> wrote:

      To help protect y ou r priv acy , Microsoft Office prev ented automatic download of this picture from the Internet.
      logo




 Client ID                                                                                                                  4046




 Hello                                                                                                        Mulvaney




 WHY ARE WE CONTACTING YOU?
                                                                                                                                   4
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                                           #:3300
      Your Income Driven Repayment Plan application has been submitted.




      WHAT HAPPENS NEXT?

      Once your application has been reviewed, you will receive a separate notification regarding the status of the application.




      QUESTIONS?

      Give us a call 1‐888‐511‐2518 Monday‐Friday 9AM‐ 6PM (PST)



      IMPORTANT:

      If there is any missing or incorrect information on your application you will be notified and have 14 days to resolve any issues. It is extremely
      important that you contact us immediately and provide the necessary information or your application.




  ‐‐

  Thank you,

 ‐‐

 Thank you,

‐‐
Thank you,




                                                                              5
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   From:            PSS INFO
   To:              Viviana Lim
   Subject:         RE: URGENT: It"s Time to Renew Your Student Loan Repayment Plan
   Date:            Thursday, May 16, 2019 11:26:00 AM


  Geez that sucks…I hope she knows that it’s the processing fee shes paying and not towards her loans

  -c


  From: Viviana Lim
  Sent: Thursday, May 16, 2019 11:15 AM
  To: PSS INFO <info@premiersolutionsservicing.com>
  Subject: RE: URGENT: It's Time to Renew Your Student Loan Repayment Plan

  Yeah, she’s weird. There’s another client whose been sending money orders because her checking
  account is negative and etc. lol

  From: PSS INFO
  Sent: Thursday, May 16, 2019 11:13 AM
  To: Viviana Lim <viviana.lim@premiersolutionsservicing.com>
  Subject: RE: URGENT: It's Time to Renew Your Student Loan Repayment Plan

  That was Jackie u were emailing back and fourth with lol….

  I don’t know why she wants to send a check…waste stamp and takes longer..when you talk to
  her..just say that you can process that $174 right away if she lets u on her card.

  -Cindy


  From: Viviana Lim
  Sent: Thursday, May 16, 2019 8:26 AM
  To: PSS INFO <info@premiersolutionsservicing.com>
  Subject: RE: URGENT: It's Time to Renew Your Student Loan Repayment Plan

  Oh yea, Im not saying don’t work on it. Since you guys are doing emails but I mean like, just when
  you guys work on it , can you please sign it with your signature so they don’t think that they’re
  talking to ME instead of signing it with “processing” & they think they’re still talking to me when
  they’re really not. But if they continue to think they’re talking to me , then yes. Or if it’s a problem
  file that needs me to call on then yea. lol I called her though and thanks for making me aware!!!

  From: PSS INFO
  Sent: Wednesday, May 15, 2019 6:54 PM
  To: Viviana Lim <viviana.lim@premiersolutionsservicing.com>
  Subject: RE: URGENT: It's Time to Renew Your Student Loan Repayment Plan



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                                    #:3302

  Nope I didn’t do anything to the file but notify you since they stated your name.


  From: Viviana Lim
  Sent: Wednesday, May 15, 2019 5:03 PM
  To: PSS INFO <info@premiersolutionsservicing.com>
  Subject: RE: URGENT: It's Time to Renew Your Student Loan Repayment Plan

  Oh yes! I just wanted to be made aware of it. but you didn’t resolve yet right?
  If not ill call tomorrow


  From: PSS INFO
  Sent: Wednesday, May 15, 2019 4:59 PM
  To: Viviana Lim <viviana.lim@premiersolutionsservicing.com>
  Subject: FW: URGENT: It's Time to Renew Your Student Loan Repayment Plan

  Please follow up with client since you said if they state your name to notify you.

  From:         Glassic <       @share.wilsonsd.org>
  Sent: Wednesday, May 15, 2019 7:49 AM
  To: PSS INFO <info@premiersolutionsservicing.com>
  Subject: Re: URGENT: It's Time to Renew Your Student Loan Repayment Plan

  Hello Ms. Lim,

  I am having difficulty getting my account revised with PSS. I tried to make my past due payment to
  PSS, but the check was returned. Meanwhile there is $500.00 being deducted from my account
  monthly, which was supposed to stop a month ago. It is impossitble to get anyone from PSS on the
  phone, which is frustrating. Please respond ASAP so that I can get this matter resolved.

         -1120
  Thank you,
         Glassic

  On Wed, Apr 17, 2019 at 5:56 PM Viviana Lim <info@premiersolutionsservicing.com> wrote:

                            LOGOhat




    CLIENT ID #PSS      4263




    Reading, PA 19605




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                                    #:3303




    Apr 17, 2019




                     Glassic:



    WHY ARE WE CONTACTING YOU?

    You are enrolled in Revised Pay As You Earn Repayment. Your income-driven repayment (IDR) plan must be renewed
    each year. To maintain the lowest payment available under IDR and other IDR benefits, we'll need you to send in your
    income documentation to verify your income. Keep in mind that as your situation changes, IDR may not continue to
    provide the lowest monthly payment

    WHAT HAPPENS NEXT?

    You must send in a copy of your tax return or two most recent pay stubs dated within the last 60 days. DO NOT SEND
    IN W2 STATEMENT, it will not be accepted as income verification by the Department of Education. This is urgent and
    must be completed before your IDR plan expires. If you do not renew on time unpaid interest will be added to your
    principal balance when a new repayment schedule is created.

    WHAT TO DO?

    Fax, scan, or upload your income documentation. Our contact information is located below. If you need further assistance
    you can reach us Monday to Friday 8am-5pm (Pacific).




    Best Regards,

    Processing Department
    Toll Free: 1-888-511-2518 EXT. 2
    Fax: 1-888-519-8402
    Email: info@premiersolutionsservicing.com




    IMPORTANT:

    IF YOU HAVE ALREADY SENT IN YOUR INCOME DOCUMENTATION PLEASE LET US KNOW AND DISREGARD THIS LETTER
    AND WE WILL UPDATE YOUR ACCOUNT. THANK YOU FOR PATIENCE DURING THIS PROCESS.



  IMPORTANT/CONFIDENTIAL: This communication is intended solely for the use of the individual and/or
  entity to which it is addressed. This e-mail contains information from the Wilson School District that may


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  communication is not the intended recipient, you are hereby notified that any dissemination, distribution,
  or copying of this communication is strictly prohibited. If you have received this communication in error,
  please notify The Wilson Technology Department at 610-670-0180 ext. 1101 immediately and
  permanently delete this message including all attachments. Thank you.




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   From:              PSS INFO
   To:                       Day
   Subject:           RE: Re : [##74##] Hello. I never received my 1098 e form for tax purposes for the 2017 year. Could someo...
   Date:              Tuesday, February 06, 2018 7:23:00 PM




  Hi

  Your refund will be issued in back to the card that it was processed on. I will send you a receipt detailing each
  refund. It is a total of 19 transactions, in total $1.333.89. Please keep in mind that if you no longer have the card that
  was originally used you must contact your financial institution. Refund will be issued to the following cards ending
  in 0953, 4145, 4145, 6881, 5233, 8024 and 5767. Or if you could advise of which cards are still active I can refund
  the transactions back to those cards and the ones that are no longer valid I can write a check. Please advise.


  Lan Tran Manager
  Processing Department
  Phone: 1-888-511-2518 ext. 106
  Fax: 1-888-519-8402
  Mail: PO BOX 26830
           Santa Ana, CA 92799
        
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  legal rules. If you have received it by mistake, please let us know by e-mail reply and delete it from your system;
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  deadlines as incoming e-mails are not screened for response deadlines. The integrity and security of this message
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  -----Original Message-----
  From:          Day [mailto            @yahoo.com]
  Sent: Tuesday, February 06, 2018 10:28 AM
  To: PSS INFO <info@premiersolutionsservicing.com>
  Subject: RE: Re : [##74##] Hello. I never received my 1098 e form for tax purposes for the 2017 year. Could
  someo...

  Although I was unhappy with services, I confirm that I have not submitted a complaint to CFPB. If you are sending
  a paper check please send to the following address:                   madison tn 37115. Thank you.

  On Tue, 2/6/18, PSS INFO <info@premiersolutionsservicing.com> wrote:

   Subject: RE: Re : [##74##] Hello. I never received my 1098 e form for tax purposes for the 2017 year. Could
  someo...
   To: "       Day"              @yahoo.com>
   Date: Tuesday, February 6, 2018, 10:43 AM

   Please confirm that you have not
   already submitted a complaint to the CFPB. I would be more than happy to provide you a full refund. And do
  apologize that you were not happy with our services.



   Lan Tran Manager
   Processing
   Department


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                                    #:3306

   Phone: 1-888-511-2518 ext. 106
   Fax: 1-888-519-8402
   Mail: PO
   Box 26830, Santa Ana, CA 92799

         




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  deadlines as incoming e-mails are not screened for response deadlines. The integrity and security of this message
  cannot be guaranteed on the Internet

   -----Original Message-----
   From:          Day [mailto:           @yahoo.com]

   Sent: Tuesday, February 06, 2018 8:41 AM
   To: PSS INFO <info@premiersolutionsservicing.com>
   Subject: RE: Re : [##74##] Hello. I never received my 1098 e form for tax purposes for the 2017 year.
   Could someo...

   Yes, I would
   like a full refund and confirmation of payment please.
   --------------------------------------------
   On Tue, 2/6/18, PSS INFO <info@premiersolutionsservicing.com>
   wrote:

    Subject: RE: Re :
   [##74##] Hello. I never received my 1098 e form for tax purposes for the 2017 year. Could someo...

   To: "      Day"              @yahoo.com>
   Date: Tuesday, February 6, 2018, 4:49 AM

   OF COURSE THE PAYMENTS YOU
  MADE
   TO US DID NOT GO TO FEDLOAN, IT WAS
  FOR OUR SERVICES TO GET YOUR LOANS CONSOLIDATED AND TO MANAGE YOUR ACCOUNT.
  NOT TO BE RUDE, BUT WHEN YOU PROVIDE A SERVICE IT WILL COST MONEY, WE DO NOT
  WORK FOR FREE AND JUST LIKE YOU WE MAKE A LIVING... WE ACTUALLY WORKED ON YOUR
  ACCOUNT, AND JUST LIKEE YOU WE HAVE DOCUEMNTS, NOTES, PHONE CONVERSATIONS AND
  LOGS THAT WILL BACK UP EVERYTHING WE HAVE DONE. WE NEVER STATED THAT PAYMENTS
  YOU MADE TO US WERE GOING TO FEDLOAN.
   THEY
  WERE FOR OUR SERVICES. READ THE CONTRACT. DO YOUR RESEARCH BEFORE YOU CALL US A
  SCAM. AND NEXT TIIME CALL ME DIRECTLY AND TALK TO US, YOU OBVIOUSLY DO NOT WANT
  TO RESOLVE ANYTHING AND WOULD RATHER RUIN OUR REPUTATION AS A COMPANY , IN
  WHICH YOU WILL AFFECT MANY PEOPLES LIVES BY DOING SO. LIKE I SAID WE ALWAYS TRY TO
  HELP OUR CLIENTS AND OFFERED TO RESOLVE THIS ISSUE AND ARE MORE THAN WILLING TO
  PROVIDE A FULL REFUND. SO IF YOU DO NOT WANT TO RECTIFY THIS ISSUE THEN THERE IS
  NOTHING LEFT TO SAY. BEST OF LUCK TO YOU.


    !!!!!!!!!!!!!!!!!!!



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   Lan Tran Manager

   Processing
   Department

   Phone: 1-888-511-2518 ext. 106
    Fax:
   1-888-519-8402
    Mail: PO

   BOX 26830
             Santa Ana, CA
   92799
         




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   Please send us by fax any message containing deadlines as incoming e-mails are not screened for response
  deadlines.
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    -----Original
    Message-----
    From:         Day
   [mailto            @yahoo.com]

    Sent: Monday, February 05,
   2018 4:57 PM
    To: PSS INFO <info@premiersolutionsservicing.com>
    Subject: RE: Re : [##74##] Hello. I never received my 1098 e form for tax purposes for the 2017 year.
    Could someo...

    No you guys
    scammed me. I
   still received letters of missed payments from fedloan even after I continued paying you guys. Also fedloan
  services, which is department of education, said that I should never have to pay for a service when making student
  loan payments unless it's a non legit company. They also informed me that none of my payments to you all were
  sent to them. You all leave me no other option but to complian to Consumer Protection Bureau.

   --------------------------------------------
    On Mon, 2/5/18, PSS INFO <info@premiersolutionsservicing.com>
    wrote:

    
   Subject: RE: Re :
     [##74##] Hello. I never
   received my 1098 e form for tax purposes for the 2017 year. Could someo...

   To:
            Day" <           @yahoo.com>
     Date: Monday, February 5, 2018, 2:25 AM

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     #yiv9684023510
     #yiv9684023510 --

    _filtered #yiv9684023510

   {font-family:Helvetica;panose-1:2
     11 6 4
   2
    2 2 2 2 4;}
      _filtered
   #yiv9684023510
    {panose-1:2 4 5 3 5 4 6 3 2
   4;}
      _filtered

   #yiv9684023510 {font-family:Calibri;panose-1:2 15
     5 2 2 2 4 3 2 4;}

   _filtered
    #yiv9684023510 {panose-1:2 5 6 4
   5 5 5 2 2 4;}
     #yiv9684023510
     #yiv9684023510

   p.yiv9684023510MsoNormal, #yiv9684023510 li.yiv9684023510MsoNormal, #yiv9684023510
  div.yiv9684023510MsoNormal
        

   {margin:0in;margin-bottom:.0001pt;font-size:11.0pt;}
     #yiv9684023510 a:link, #yiv9684023510
     span.yiv9684023510MsoHyperlink
        

   {color:blue;text-decoration:underline;}

    #yiv9684023510 a:visited, #yiv9684023510
   span.yiv9684023510MsoHyperlinkFollowed

        
   {color:purple;text-decoration:underline;}
    
   #yiv9684023510 p.yiv9684023510msonormal0,

   #yiv9684023510 li.yiv9684023510msonormal0,
    #yiv9684023510

     div.yiv9684023510msonormal0
    
      

   {margin-right:0in;margin-left:0in;font-size:11.0pt;}
     #yiv9684023510

   span.yiv9684023510EmailStyle19
        
    {color:windowtext;}

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   #yiv9684023510

   .yiv9684023510MsoChpDefault
        
    {font-size:10.0pt;}

   _filtered
    #yiv9684023510 {margin:1.0in
   1.0in 1.0in 1.0in;}
     #yiv9684023510
    div.yiv9684023510WordSection1
         {}
     #yiv9684023510

    
    

     Your payments that
   you
     made
    to us were for
   our services we provided, which is assist in document
   preparation of your consolidation and the monthly payment
   was for us to maintain your student loans and most
   importantly to recertify your

    income driven repayment plan. So I am sorry if
   you were under the impression that we are a scam. There
   may be companies out there that scam people but we ARE NOT
   one of them. We take pride in being the one company that
   goes above and beyond for all our clients.
     I
    ask that you take a look
   at our profile on the Better Business Bureau and Google
   our company. We have one negative review out of almost
   200 positive, you can search any other student loan
   company and you will not find one that has that and I
   think that
     speaks

   volumes, so I ask that you not accuse our company of
   scamming you. We are more than open to providing whatever
   you need regarding your student loans. Please contact me
   directly before you submit a complaint so we cant rectify
   this matter.



    


    
     Lan


       Tran Manager

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    Processing
     Department

     Phone:
     1-888-511-2518 ext.
   106
     Fax:
    
   1-888-519-8402
     Mail: PO BOX
     26830
    
           
     Santa Ana,
     CA 92799
           
    
    
    
    
    
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     From:        Day
    
   [mailto:             @yahoo.com]

    
     Sent:
   Saturday, February
     03, 2018 7:05 PM
    
     To: PSS

   INFO

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     <info@premiersolutionsservicing.com>
    
     Subject: Re: Re :
   [##74##]
     Hello. I never received my
     1098 e form for
     tax
   purposes for the 2017 year. Could someo...
    
    


    
    
    
   This is
     why I cancelled my account
     with you all. I
     am not sure
   you all are legit. When I first signed up with you all,
   I was told my
      payments were for
     my student loans; so I was basically paying
   you all for your benefit. I will be reporting you all to
   the Consumer Financial Protection Bureau. I have emails
   and proof of you all scamming me.



    



    
    
    
    
     On

     Saturday, February 3, 2018 1:10 PM, PSS <info@premiersolutionsservicing.com>
     wrote:
    

    

    
    

       Hi
            . Your payments to us were not
    going towards your loans therefore we do not
   have any tax docs. Your 1098 tax docs can be found

     online from your Fedloan
   account
    
    

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     Username:

    
    
     Password:

    
    
    
   Security Question Answer:
    
    
    
    
    
    
    

     Sincerely,


    
     Lan
   Tran

    
    
     Processing Department

    
    
    
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